           23-10671-hcm Doc#1 Filed 08/25/23 Entered 08/25/23 13:40:10 Main Document Pg 1 of 65

 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
                                Western District of Texas


 Case number (if known):                                            Chapter     11                                                     ❑ Check if this is an
                                                                                                                                           amended filing

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                       06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case number (if known). For
more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



    1. Debtor's name                              Steepologie, LLC



    2. All other names debtor used
       in the last 8 years

     Include any assumed names,
     trade names, and doing business
     as names



    3. Debtor's federal Employer                   8      1 – 4    1   6    8   4    8   8
       Identification Number (EIN)



    4. Debtor's address                            Principal place of business                                 Mailing address, if different from principal place of
                                                                                                               business

                                                   Steepologie, LLC

                                                   2110 Ranch Road 620 S
                                                   Number          Street                                      Number        Street

                                                   Austin, TX 78734
                                                   City                                  State   ZIP Code
                                                                                                               City                              State      ZIP Code

                                                                                                               Location of principal assets, if different from principal
                                                   Travis                                                      place of business
                                                   County




                                                                                                               Number        Street


                                                                                                               City                              State      ZIP Code




    5. Debtor's website (URL)                     https://www.steepologie.com-



    6. Type of debtor                             ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                                  ❑
                                                  ❑ Partnership (excluding LLP)
                                                  ❑ Other. Specify:




Official Form 201                                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 1
          23-10671-hcm Doc#1 Filed 08/25/23 Entered 08/25/23 13:40:10 Main Document Pg 2 of 65

Debtor      Steepologie, LLC                                                                                 Case number (if known)
           Name
                                                A. Check one:
    7. Describe debtor's business
                                                ❑ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                ❑ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                ❑ Railroad (as defined in 11 U.S.C. §101(44))
                                                ❑ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                ❑ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                ❑ Clearing Bank (as defined in 11 U.S.C. §781(3))
                                                ✔ None of the above
                                                ❑
                                                B. Check all that apply:
                                                ❑ Tax-exempt entity (as described in 26 U.S.C. §501)
                                                ❑ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. § 80a-3)
                                                ❑ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                                C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                   http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                                    4     2   ,   4

    8. Under which chapter of the               Check one:
       Bankruptcy Code is the                   ❑ Chapter 7
       debtor filing?

     A debtor who is a “small business
                                                ❑ Chapter 9
     debtor” must check the first subbox. A     ✔ Chapter 11. Check all that apply:
                                                ❑
     debtor as defined in § 1182(1) who
     elects to proceed under subchapter V          ✔ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
                                                   ❑
     of chapter 11 (whether or not the                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     debtor is a “small business debtor”)                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     must check the second sub-box                         operations, cash-flow statement, and federal income tax return or if any of these documents do not
                                                           exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                      ✔ The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                      ❑
                                                           debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                           proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                           balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                           any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                      ❑ A plan is being filed with this petition.
                                                      ❑ Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                           accordance with 11 U.S.C. § 1126(b).
                                                      ❑ The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                           Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                           Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                           (Official Form 201A) with this form.
                                                      ❑ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                                ❑ Chapter 12
    9. Were prior bankruptcy cases filed        ✔ No
                                                ❑
       by or against the debtor within the
       last 8 years?
                                                ❑ Yes. District                                     When                    Case number
                                                                                                           MM / DD / YYYY
     If more than 2 cases, attach a                      District                                   When                     Case number
     separate list.                                                                                        MM / DD / YYYY

  10. Are any bankruptcy cases pending          ✔ No
                                                ❑
      or being filed by a business partner
      or an affiliate of the debtor?            ❑ Yes. Debtor                                                               Relationship

     List all cases. If more than 1, attach a            District                                                            When
     separate list.                                                                                                                        MM / DD / YYYY
                                                         Case number, if known




Official Form 201                                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
            23-10671-hcm Doc#1 Filed 08/25/23 Entered 08/25/23 13:40:10 Main Document Pg 3 of 65

Debtor        Steepologie, LLC                                                                           Case number (if known)
             Name


  11. Why is the case filed in this   Check all that apply:
      district?
                                      ✔ Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                      ❑
                                         immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                         district.

                                      ❑ A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.
  12. Does the debtor own or have     ✔ No
                                      ❑
      possession of any real
      property or personal property
                                      ❑ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      that needs immediate                      Why does the property need immediate attention? (Check all that apply.)
      attention?                                ❑ It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?


                                                ❑ It needs to be physically secured or protected from the weather.
                                                ❑ It includes perishable goods or assets that could quickly deteriorate or lose value without attention
                                                      (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other
                                                      options).
                                                ❑ Other
                                                Where is the property?
                                                                          Number        Street




                                                                          City                                         State    ZIP Code
                                                Is the property insured?
                                                ❑ No
                                                ❑ Yes.        Insurance agency
                                                              Contact name
                                                              Phone

          Statistical and administrative information

         13. Debtor’s estimation of   Check one:
             available funds?         ❑ Funds will be available for distribution to unsecured creditors.
                                      ✔ After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                      ❑
                                         creditors.

         14. Estimated number of
                                       ✔ 1-49 ❑ 50-99
                                       ❑                                  ❑ 1,000-5,000 ❑ 5,001-10,000             ❑ 25,001-50,000 ❑ 50,000-100,000
             creditors                 ❑ 100-199 ❑ 200-999                ❑ 10,001-25,000                          ❑ More than 100,000

         15. Estimated assets
                                       ✔ $0-$50,000
                                       ❑                                     ❑ $1,000,001-$10 million                  ❑ $500,000,001-$1 billion
                                       ❑ $50,001-$100,000                    ❑ $10,000,001-$50 million                 ❑ $1,000,000,001-$10 billion
                                       ❑ $100,001-$500,000                   ❑ $50,000,001-$100 million                ❑ $10,000,000,001-$50 billion
                                       ❑ $500,001-$1 million                 ❑ $100,000,001-$500 million               ❑ More than $50 billion




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 3
            23-10671-hcm Doc#1 Filed 08/25/23 Entered 08/25/23 13:40:10 Main Document Pg 4 of 65

Debtor        Steepologie, LLC                                                                                 Case number (if known)
             Name



                                            ❑ $0-$50,000                              ✔ $1,000,001-$10 million
                                                                                      ❑                                         ❑ $500,000,001-$1 billion
         16. Estimated liabilities
                                            ❑ $50,001-$100,000                        ❑ $10,000,001-$50 million                 ❑ $1,000,000,001-$10 billion
                                            ❑ $100,001-$500,000                       ❑ $50,000,001-$100 million                ❑ $10,000,000,001-$50 billion
                                            ❑ $500,001-$1 million                     ❑ $100,000,001-$500 million               ❑ More than $50 billion

           Request for Relief, Declaration, and Signatures


 WARNING --           Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
                      imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


         17. Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
             authorized representative of            petition.
             debtor
                                                     I have been authorized to file this petition on behalf of the debtor.

                                                     I have examined the information in this petition and have a reasonable belief that the information is true
                                                     and correct.

                                               I declare under penalty of perjury that the foregoing is true and correct.

                                                   Executed on     08/25/2023
                                                                   MM/ DD/ YYYY



                                               ✘ /s/ Andrea Raetzer                                                 Printed name
                                                                                                                                       Andrea Raetzer
                                                   Signature of authorized representative of debtor


                                                   Title                    President - Owner



         18. Signature of attorney
                                               ✘                      /s/ Stephen W Sather                          Date      08/25/2023
                                                                                                                              MM/ DD/ YYYY
                                                   Signature of attorney for debtor



                                                    Stephen W Sather
                                                   Printed name

                                                    Barron & Newburger, P.C.
                                                   Firm name

                                                    7320 N. MoPac Expressway 400
                                                   Number          Street


                                                    Austin                                                             TX              78731
                                                   City                                                               State            ZIP Code



                                                    (512) 649-3243                                                      ssather@bn-lawyers.com
                                                   Contact phone                                                       Email address



                                                    17657520                                                            TX
                                                   Bar number                                                          State




Official Form 201                                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 4
           23-10671-hcm Doc#1 Filed 08/25/23 Entered 08/25/23 13:40:10 Main Document Pg 5 of 65

 Fill in this information to identify the case:

 Debtor name                                Steepologie, LLC

 United States Bankruptcy Court for the:
                                Western District of Texas


 Case number (if known):                                                                                                           ❑ Check if this is an
                                                                                                                                      amended filing

Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property                                                                                                               12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include all property in
which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have no book value, such as
fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired leases. Also list them on Schedule G:
Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the debtor’s
name and case number (if known). Also identify the form and line number to which the additional information applies. If an additional sheet is attached,
include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset schedule or
depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the debtor’s interest, do not deduct
the value of secured claims. See the instructions to understand the terms used in this form.


 Part 1: Cash and cash equivalents


  1.   Does the debtor have any cash or cash equivalents?
       ❑ No. Go to Part 2.
       ✔ Yes. Fill in the information below.
       ❑
       All cash or cash equivalents owned or controlled by the debtor                                                                  Current value of debtor's
                                                                                                                                       interest

  2.   Cash on hand

  3.   Checking, savings, money market, or financial brokerage accounts (Identify all)
       Name of institution (bank or brokerage firm)             Type of account                  Last 4 digits of account number
       3.1 Chase #2367 & PNC #7313                                  Checking account                                                                   $3,891.00

  4.   Other cash equivalents (Identify all)
       None

  5.   Total of Part 1
                                                                                                                                                        $3,891.00
       Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



 Part 2: Deposits and prepayments


  6.   Does the debtor have any deposits or prepayments?
       ✔ No. Go to Part 3.
       ❑
       ❑ Yes. Fill in the information below.
                                                                                                                                       Current value of debtor's
                                                                                                                                       interest
  7.   Deposits, including security deposits and utility deposits
       Description, including name of holder of deposit
       None




Official Form 206A/B                                        Schedule A/B: Assets — Real and Personal Property                                          page 1
            23-10671-hcm Doc#1 Filed 08/25/23 Entered 08/25/23 13:40:10 Main Document Pg 6 of 65

Debtor        Steepologie, LLC                                                                                   Case number (if known)
             Name


  8.   Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
       Description, including name of holder of prepayment

       None


  9.   Total of Part 2
                                                                                                                                                             $0.00
       Add lines 7 through 8 (including amounts on any additional sheets). Copy the total to line 81.



 Part 3: Accounts receivable


  10. Does the debtor have any accounts receivable?
         ❑ No. Go to Part 4.
         ✔ Yes. Fill in the information below.
         ❑

                                                                                                                                          Current value of debtor's
                                                                                                                                          interest

  11. Accounts Receivable

         11a. 90 days old or less:             $1,128.00                -                  $0.00                    = ...... ➔                          $1,128.00
                                     face amount                            doubtful or uncollectible accounts


         11b. Over 90 days old:                                         -                                           = ...... ➔
                                     face amount                            doubtful or uncollectible accounts


  12. Total of Part 3
                                                                                                                                                        $1,128.00
         Current value on lines 11a + 11b = line 12. Copy the total to line 82.



 Part 4: Investments


  13. Does the debtor own any investments?
         ✔ No. Go to Part 5.
         ❑
         ❑ Yes. Fill in the information below.

                                                                                                         Valuation method used for        Current value of debtor's
                                                                                                         current value                    interest

  14. Mutual funds or publicly traded stocks not included in Part 1
         Name of fund or stock:

         None


  15. Non-publicly traded stock and interests in incorporated and unincorporated
      businesses, including any interest in an LLC, partnership, or joint venture
         Name of fund or stock:                                                     % of
                                                                                    ownership:
         None


  16. Government bonds, corporate bonds, and other negotiable and non-negotiable
      instruments not included in Part 1
         Describe:

Official Form 206A/B                                         Schedule A/B: Assets — Real and Personal Property                                           page 2
            23-10671-hcm Doc#1 Filed 08/25/23 Entered 08/25/23 13:40:10 Main Document Pg 7 of 65

Debtor       Steepologie, LLC                                                                                 Case number (if known)
             Name



         None


  17. Total of Part 4
                                                                                                                                                          $0.00
         Add lines 14 through 16 (including any additional sheets). Copy the total to line 83.



 Part 5: Inventory, excluding agriculture assets


  18. Does the debtor own any inventory (excluding agriculture assets)?
         ❑ No. Go to Part 6.
         ✔ Yes. Fill in the information below.
         ❑

         General description                                Date of the last        Net book value of        Valuation method used     Current value of debtor's
                                                            physical inventory      debtor's interest        for current value         interest
                                                                                    (Where available)


  19. Raw materials

         None

  20. Work in progress

         None

  21. Finished goods, including goods held for resale

         21.1 Teaware Inventory Paid                                                             $2,358.00                                           $2,538.00
                                                                MM / DD / YYYY


         Additional Page Total - See continuation page for additional entries                                                                       $11,091.50

  22. Other inventory or supplies

         None

  23. Total of Part 5
         Add lines 19 through 22 (including any additional sheets). Copy the total to line 84.                                                      $13,629.50


  24. Is any of the property listed in Part 5 perishable?
         ✔ No
         ❑
         ❑ Yes
  25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
         ✔ No
         ❑
         ❑ Yes
  26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes


 Part 6: Farming and fishing-related assets (other than titled motor vehicles and land)




Official Form 206A/B                                         Schedule A/B: Assets — Real and Personal Property                                        page 3
            23-10671-hcm Doc#1 Filed 08/25/23 Entered 08/25/23 13:40:10 Main Document Pg 8 of 65

Debtor       Steepologie, LLC                                                                            Case number (if known)
             Name



  27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
         ✔ No. Go to Part 7.
         ❑
         ❑ Yes. Fill in the information below.

         General description                                                       Net book value of    Valuation method used     Current value of debtor's
                                                                                   debtor's interest    for current value         interest
                                                                                   (Where available)


  28. Crops — either planted or harvested

         None


  29. Farm animals Examples: Livestock, poultry, farm-raised fish

         None


  30. Farm machinery and equipment (Other than titled motor vehicles)

         None

  31. Farm and fishing supplies, chemicals, and feed

         None


  32. Other farming and fishing-related property not already listed in Part 6

         None

  33. Total of Part 6
         Add lines 28 through 32. Copy the total to line 85.                                                                                         $0.00


  34. Is the debtor a member of an agricultural cooperative?
         ✔ No
         ❑
         ❑ Yes. Is any of the debtor's property stored at the cooperative?
             ❑ No
             ❑ Yes

  35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
         ✔ No
         ❑
         ❑ Yes
  36. Is a depreciation schedule available for any of the property listed in Part 6?
         ✔ No
         ❑
         ❑ Yes
  37. Has any of the property listed in Part 6 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes


 Part 7: Office furniture, fixtures, and equipment; and collectibles




Official Form 206A/B                                           Schedule A/B: Assets — Real and Personal Property                                 page 4
            23-10671-hcm Doc#1 Filed 08/25/23 Entered 08/25/23 13:40:10 Main Document Pg 9 of 65

Debtor       Steepologie, LLC                                                                            Case number (if known)
             Name



  38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?
         ❑ No. Go to Part 8.
         ✔ Yes. Fill in the information below.
         ❑

         General description                                                       Net book value of    Valuation method used     Current value of debtor's
                                                                                   debtor's interest    for current value         interest
                                                                                   (Where available)


  39. Office furniture

         39.1 Packing Tables x 2                                                              $363.00   30% of New Price                          $363.00


         Additional Page Total - See continuation page for additional entries                                                                     $960.00

  40. Office fixtures

         40.1 Shelving and Pipe                                                               $900.00   30% of New Price                          $900.00


         Additional Page Total - See continuation page for additional entries                                                                  $13,944.00

  41. Office equipment, including all computer equipment and
      communication systems equipment and software

         41.1 Tape Dispenser x 2                                                              $792.00   30% of New Price                          $792.00


         Additional Page Total - See continuation page for additional entries                                                                   $8,441.00

  42. Collectibles Examples: Antiques and figurines; paintings, prints or
      other artwork; books, pictures, or other art objects; china and crystal;
      stamp, coin, or baseball card collections; other collections,
      memorabilia, or collectibles

         42.1 Bert and Ernie x 2                                                              $397.00   30% of New Price                          $397.00


  43. Total of Part 7
                                                                                                                                               $25,797.00
         Add lines 39 through 42. Copy the total to line 86.

  44. Is a depreciation schedule available for any of the property listed in Part 7?
         ✔ No
         ❑
         ❑ Yes
  45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes


 Part 8: Machinery, equipment, and vehicles


  46. Does the debtor own or lease any machinery, equipment, or vehicles?
         ✔ No. Go to Part 9.
         ❑
         ❑ Yes. Fill in the information below.
         General description                                                       Net book value of    Valuation method used     Current value of debtor's
         Include year, make, model, and identification numbers (i.e., VIN, HIN,    debtor's interest    for current value         interest
         or N-number)                                                              (Where available)


Official Form 206A/B                                           Schedule A/B: Assets — Real and Personal Property                                 page 5
           23-10671-hcm Doc#1 Filed 08/25/23 Entered 08/25/23 13:40:10 Main Document Pg 10 of 65

Debtor        Steepologie, LLC                                                                               Case number (if known)
             Name



  47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm
      vehicles

         None


  48. Watercraft, trailers, motors, and related accessories Examples:
      Boats, trailers, motors, floating homes, personal watercraft, and fishing
      vessels

         None


  49. Aircraft and accessories

         None


  50. Other machinery, fixtures, and equipment (excluding farm machinery
      and equipment)

         None


  51. Total of Part 8
                                                                                                                                                         $0.00
         Add lines 47 through 50. Copy the total to line 87.

  52. Is a depreciation schedule available for any of the property listed in Part 8?
         ✔ No
         ❑
         ❑ Yes

  53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes


 Part 9: Real Property


  54. Does the debtor own or lease any real property?
         ✔ No. Go to Part 10.
         ❑
         ❑ Yes. Fill in the information below.

         General description                                    Nature and extent of Net book value of     Valuation method used      Current value of debtor's
         Include street address or other description such as    debtor's interest in debtor's interest     for current value          interest
         Assessor Parcel Number (APN), and type of property     property             (Where available)
         (for example, acreage, factory, warehouse, apartment
         or office building), if available


  55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has interest

         None


  56. Total of Part 9
                                                                                                                                                         $0.00
         Add the current value on lines 55.1 through 55.3 and entries from any addition sheets. Copy the total to line 88.

  57. Is a depreciation schedule available for any of the property listed in Part 9?
         ✔ No
         ❑
         ❑ Yes
Official Form 206A/B                                            Schedule A/B: Assets — Real and Personal Property                                    page 6
           23-10671-hcm Doc#1 Filed 08/25/23 Entered 08/25/23 13:40:10 Main Document Pg 11 of 65

Debtor       Steepologie, LLC                                                                            Case number (if known)
             Name


  58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes


 Part 10: Intangibles and Intellectual Property


  59. Does the debtor have any interests in intangibles or intellectual property?
         ✔ No. Go to Part 11.
         ❑
         ❑ Yes. Fill in the information below.

         General description                                                       Net book value of    Valuation method used     Current value of debtor's
                                                                                   debtor's interest    for current value         interest
                                                                                   (Where available)


  60. Patents, copyrights, trademarks, and trade secrets

         None

  61. Internet domain names and websites

         None


  62. Licenses, franchises, and royalties

         None

  63. Customer lists, mailing lists, or other compilations

         None


  64. Other intangibles, or intellectual property

         None

  65. Goodwill

         None


  66. Total of Part 10
                                                                                                                                                     $0.00
         Add lines 60 through 65. Copy the total to line 89.

  67. Do your lists or records include personally identifiable information of customers? (as defined in 11 U.S.C. §§ 101(41A) and 107)
         ✔ No
         ❑
         ❑ Yes
  68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
         ✔ No
         ❑
         ❑ Yes
  69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes



Official Form 206A/B                                           Schedule A/B: Assets — Real and Personal Property                                 page 7
           23-10671-hcm Doc#1 Filed 08/25/23 Entered 08/25/23 13:40:10 Main Document Pg 12 of 65

Debtor        Steepologie, LLC                                                                           Case number (if known)
             Name




 Part 11: All other assets


  70. Does the debtor own any other assets that have not yet been reported on this form?
         ✔ No. Go to Part 12.
         ❑
         ❑ Yes. Fill in the information below.

                                                                                                                                  Current value of debtor's
                                                                                                                                  interest

  71. Notes receivable
         Description (include name of obligor)

         None


  72. Tax refunds and unused net operating losses (NOLs)
         Description (for example, federal, state, local)

         None


  73. Interests in insurance policies or annuities

         None


  74. Causes of action against third parties (whether or not a lawsuit has been filed)

         None


  75. Other contingent and unliquidated claims or causes of action of every nature,
      including counterclaims of the debtor and rights to set off claims

         None


  76. Trusts, equitable or future interests in property

         None


  77. Other property of any kind not already listed Examples: Season tickets,
      country club membership

         None


  78. Total of Part 11
                                                                                                                                                     $0.00
         Add lines 71 through 77. Copy the total to line 90.

  79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes




Official Form 206A/B                                           Schedule A/B: Assets — Real and Personal Property                                 page 8
           23-10671-hcm Doc#1 Filed 08/25/23 Entered 08/25/23 13:40:10 Main Document Pg 13 of 65

Debtor        Steepologie, LLC                                                                                                       Case number (if known)
              Name


 Part 12: Summary


         Type of property                                                                    Current value of                            Current value
                                                                                             personal property                           of real property


  80. Cash, cash equivalents, and financial assets. Copy line 5,
      Part 1.                                                                                                 $3,891.00

  81. Deposits and prepayments. Copy line 9, Part 2.                                                                  $0.00

  82. Accounts receivable. Copy line 12, Part 3.                                                              $1,128.00

  83. Investments. Copy line 17, Part 4.                                                                              $0.00

  84. Inventory. Copy line 23, Part 5.                                                                      $13,629.50

  85. Farming and fishing-related assets. Copy line 33, Part 6.                                                       $0.00

  86. Office furniture, fixtures, and equipment; collectibles. Copy
      line 43, Part 7.                                                                                      $25,797.00

  87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                       $0.00


                                                                                                                                ➔                              $0.00
  88. Real property. Copy line 56, Part 9..........................................................................

  89. Intangibles and intellectual property. Copy line 66, Part 10.                                                   $0.00

  90. All other assets. Copy line 78, Part 11.                                          +                             $0.00



  91. Total. Add lines 80 through 90 for each column......                          91a.                    $44,445.50        + 91b.                           $0.00



                                                                                                                                                                         $44,445.50
  92. Total of all property on Schedule A/B. Lines 91a + 91b = 92 .................................................................................................




Official Form 206A/B                                                    Schedule A/B: Assets — Real and Personal Property                                              page 9
          23-10671-hcm Doc#1 Filed 08/25/23 Entered 08/25/23 13:40:10 Main Document Pg 14 of 65

Debtor       Steepologie, LLC                                                                   Case number (if known)
             Name



          Additional Page


         General description                         Date of the last     Net book value of    Valuation method used     Current value of debtor's
                                                     physical inventory   debtor's interest    for current value         interest
                                                                          (Where available)
  21. Finished goods, including goods held for resale - Continued
         21.2 Islands Williams Sonoma                                                  $0.00                                                $0.00
                                                        MM / DD / YYYY

         21.3 Islands Williams Sonoma; 3 Full                                      $4,226.00                                           $4,226.00
                                                        MM / DD / YYYY

         21.4 Islands Williams Sonoma; 4 Half                                      $3,474.00                                           $3,474.00
                                                        MM / DD / YYYY

         21.5 Tea Paid                                                            $11,305.00   30 % of New Price                       $3,391.50
                                                        MM / DD / YYYY

         General description                                              Net book value of    Valuation method used     Current value of debtor's
                                                                          debtor's interest    for current value         interest
                                                                          (Where available)

  39. Office furniture - Continued
         39.2 Stainless Steel Tables x 4                                             $960.00   30% of New Price                          $960.00

  40. Office fixtures - Continued
         40.2 Rolling Shelves x 10                                                   $360.00   30% of New Price                          $360.00

         40.3 Rack Shelving; Uprights x 28                                         $2,352.00   30% of New Price                        $2,352.00

         40.4 Rack Shelving; Wire Decks x 190                                      $2,907.00   30% of New Price                        $2,907.00

         40.5 Rack Shelving; Orange Beams x 185                                    $8,325.00   30% of New Price                        $8,325.00

  41. Office equipment - Continued
         41.2 Electric Pallet                                                        $881.00   30% of New Price                          $881.00

         41.3 Computers                                                            $2,160.00   30% New Price                           $2,160.00

         41.4 Plastic Bins x 600                                                   $3,600.00   30% of New Price                        $3,600.00

         41.5 Canisters x 600                                                      $1,800.00   30% of New Price                        $1,800.00




Official Form 206A/B                                  Schedule A/B: Assets — Real and Personal Property                               page 10
       23-10671-hcm Doc#1 Filed 08/25/23 Entered 08/25/23 13:40:10 Main Document Pg 15 of 65
 Fill in this information to identify the case:

     Debtor name     Steepologie, LLC

     United States Bankruptcy Court for the:                 Western                 District of             Texas
                                                                                                   (State)
     Case number (if known):                                                                                                                         ❑ Check if this is an
                                                                                                                                                          amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                  12/15

Be as complete and accurate as possible.

1.     Do any creditors have claims secured by debtor’s property?
       ❑ No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
       ✔ Yes. Fill in all of the information below.
       ❑
     Part 1:        List Creditors Who Have Secured Claims

 2.     List in alphabetical order all creditors who have secured claims. If a creditor has more                           Column A                        Column B
        than one secured claim, list the creditor separately for each claim.                                               Amount of claim                 Value of collateral
                                                                                                                           Do not deduct the value         that supports this
                                                                                                                           of collateral.                  claim

2.1 Creditor’s name                                          Describe debtor’s property that is subject to a
                                                             lien                                                                           $117,065.00              unknown
         Clear Finance Tech Corp.

        Creditor’s mailing address
         Clear Finance Tech Corp CLEARCO
         CAPITAL
         1200-33 Yonge Street                                Describe the lien

         Toronto, Ontario, M5E 1G4,
                                                             Is the creditor an insider or related party?
        Creditor’s email address, if known
                                                             ✔ No
                                                             ❑
                                                             ❑ Yes
        Date debt was                                        Is anyone else liable on this claim?
        incurred
                                                             ✔ No
                                                             ❑
        Last 4 digits of                                     ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
        account
        number                                               As of the petition filing date, the claim is:
                                                             Check all that apply.
        Do multiple creditors have an interest
                                                             ❑ Contingent
        in the same property?
                                                             ❑ Unliquidated
        ✔ No
        ❑                                                    ✔ Disputed
                                                             ❑
        ❑ Yes. Specify each creditor, including this
                 creditor, and its relative priority.




 3.     Total of the dollar amounts from Part 1, Column A, including the amounts from the                                                   $776,547.00
        Additional
        Page, if any.


Official Form 206D                                      Schedule D: Creditors Who Have Claims Secured by Property                                                 page 1 of 5
    23-10671-hcm Doc#1 Filed 08/25/23 Entered 08/25/23 13:40:10 Main Document Pg 16 of 65
Debtor     Steepologie, LLC                                                                       Case number (if known)
          Name




  Part 1:        Additional Page                                                                                   Column A                   Column B
                                                                                                                   Amount of claim            Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially
                                                                                                                   Do not deduct the value    that supports this
 from the
                                                                                                                   of collateral.             claim
 previous page.

2.2 Creditor’s name                                  Describe debtor’s property that is subject to a
                                                     lien                                                                           unknown            unknown
      Geneva Capital, LLC

     Creditor’s mailing address
      1311 Broadway St.
      Alexandria, MN 56308
                                                     Describe the lien
     Creditor’s email address, if known

                                                     Is the creditor an insider or related party?
     Date debt was                                   ✔ No
                                                     ❑
     incurred
                                                     ❑ Yes
     Last 4 digits of                                Is anyone else liable on this claim?
     account                                         ✔ No
                                                     ❑
     number
                                                     ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     Do multiple creditors have an interest
                                            As of the petition filing date, the claim is:
     in the same property?
                                                     Check all that apply.
     ✔ No
     ❑
                                                     ❑ Contingent
     ❑ Yes. Have you already specified the
              relative priority?                     ❑ Unliquidated
         ❑ No. Specify each creditor, including      ❑ Disputed
               this creditor, and its relative
               priority.



         ❑ Yes. The relative priority of creditors
                  is specified on lines




Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                page 2 of 5
    23-10671-hcm Doc#1 Filed 08/25/23 Entered 08/25/23 13:40:10 Main Document Pg 17 of 65
Debtor     Steepologie, LLC                                                                          Case number (if known)
          Name




  Part 1:        Additional Page                                                                                      Column A                       Column B
                                                                                                                      Amount of claim                Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially
                                                                                                                      Do not deduct the value        that supports this
 from the
                                                                                                                      of collateral.                 claim
 previous page.

2.3 Creditor’s name                                     Describe debtor’s property that is subject to a
                                                        lien                                                                           $467,632.00          $44,445.50
      Small Business Administration
                                                        AR, Bert and Ernie x 2, Canisters x 600, Chase
     Creditor’s mailing address                         #2367 & PNC #7313, Computers, Electric Pallet,
      Little Rock Loan Servicing                        Islands Williams Sonoma, Islands Williams
                                                        Sonoma; 3 Full, Islands Williams Sonoma; 4 Half,
      2120 Riverfront Drive, Suite 100
                                                        Packing Tables x 2, Plastic Bins x 600, Rack
      Little Rock, AR 72202                             Shelving; Orange Beams x 185, Rack Shelving;
                                                        Uprights x 28, Rack Shelving; Wire Decks x 190,
     Creditor’s email address, if known                 Rolling Shelves x 10, Shelving and Pipe,
                                                        Stainless Steel Tables x 4, Tape Dispenser x 2,
                                                        Tea Paid, Teaware Inventory Paid
     Date debt was                     March 23
     incurred                           2020            Describe the lien
                                                        Small Business Loan
     Last 4 digits of              7      0   0     0
     account                                            Is the creditor an insider or related party?
     number
                                                        ✔ No
                                                        ❑
     Do multiple creditors have an interest             ❑ Yes
     in the same property?
                                                        Is anyone else liable on this claim?
     ✔ No
     ❑                                                  ❑ No
     ❑ Yes. Have you already specified the              ✔ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                                                        ❑
              relative priority?
         ❑ No. Specify each creditor, including         As of the petition filing date, the claim is:
                  this creditor, and its relative
                                                        Check all that apply.
                  priority.
                                                        ❑ Contingent
                                                        ❑ Unliquidated
         ❑ Yes. The relative priority of creditors      ❑ Disputed
                  is specified on lines

     Remarks:SECURED BY BUSINESS AND PERSONAL GUARANTEES




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     page 3 of 5
    23-10671-hcm Doc#1 Filed 08/25/23 Entered 08/25/23 13:40:10 Main Document Pg 18 of 65
Debtor     Steepologie, LLC                                                                       Case number (if known)
          Name




  Part 1:        Additional Page                                                                                   Column A                       Column B
                                                                                                                   Amount of claim                Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially
                                                                                                                   Do not deduct the value        that supports this
 from the
                                                                                                                   of collateral.                 claim
 previous page.

2.4 Creditor’s name                                  Describe debtor’s property that is subject to a
                                                     lien                                                                           $191,850.00            unknown
      WEBBANK (RE: SHOPIFY
      CAPITAL)

     Creditor’s mailing address
      WEBBANK (RE: SHOPIFY
      CAPITAL)                                       Describe the lien
      100 Shockoe Slip, 2nd Floor
      Richmond, VA 23219                             Is the creditor an insider or related party?
     Creditor’s email address, if known              ✔ No
                                                     ❑
                                                     ❑ Yes
                                                     Is anyone else liable on this claim?
     Date debt was
                                                     ✔ No
                                                     ❑
     incurred
                                                     ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     Last 4 digits of
     account                                         As of the petition filing date, the claim is:
     number                                          Check all that apply.

                                                     ❑ Contingent
     Do multiple creditors have an interest
     in the same property?
                                                     ❑ Unliquidated
                                                     ❑ Disputed
     ✔ No
     ❑
     ❑ Yes. Have you already specified the
              relative priority?
         ❑ No. Specify each creditor, including
                  this creditor, and its relative
                  priority.



         ❑ Yes. The relative priority of creditors
                  is specified on lines




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page 4 of 5
23-10671-hcm Doc#1 Filed 08/25/23 Entered 08/25/23 13:40:10 Main Document Pg 19 of 65
23-10671-hcm Doc#1 Filed 08/25/23 Entered 08/25/23 13:40:10 Main Document Pg 20 of 65
    23-10671-hcm Doc#1 Filed 08/25/23 Entered 08/25/23 13:40:10 Main Document Pg 21 of 65
Debtor      Steepologie, LLC                                                         Case number (if known)
         Name




  Part 2:        List Others to Be Notified for a Debt Already Listed in Part 1

 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed
 are collection agencies, assignees of claims listed above, and attorneys for secured creditors.

 If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy
 this page.


 Name and address                                                                                   On which line in Part   Last 4 digits of
                                                                                                    1                       account number
                                                                                                    did you enter the       for this entity
                                                                                                    related creditor?

 United States Attorney
 Civil Processing Clerk
                                                                                                   Line 2. 3
 601 NW Loop 410 Ste 600
 San Antonio, TX 78216

 U.S. Dept. of Justice
 950 Pennsylvania Avenue, N.W.                                                                     Line 2. 3
 Washington, DC 20530



                                                                                                   Line 2.




                                                                                                   Line 2.




                                                                                                   Line 2.




                                                                                                   Line 2.




                                                                                                   Line 2.




                                                                                                   Line 2.




                                                                                                   Line 2.




                                                                                                   Line 2.




Form 206D                         Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                  page 5 of 5
23-10671-hcm Doc#1 Filed 08/25/23 Entered 08/25/23 13:40:10 Main Document Pg 22 of 65
          23-10671-hcm Doc#1 Filed 08/25/23 Entered 08/25/23 13:40:10 Main Document Pg 23 of 65

 Fill in this information to identify the case:

 Debtor name                                Steepologie, LLC

 United States Bankruptcy Court for the:
                                Western District of Texas


 Case number (if known):                                                                                                           ❑ Check if this is an
                                                                                                                                      amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets
- Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases(Official Form 206G). Number the entries
in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1: List All Creditors with PRIORITY Unsecured Claims

  1.    Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507)
        ❑ No. Go to Part 2.
        ✔ Yes. Go to line 2.
        ❑
 2.    List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
       with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                               Total claim                 Priority amount

2.1 Priority creditor’s name and mailing address               As of the petition filing date, the claim is:   $44,624.00                   $44,624.00
                                                               Check all that apply.
       Washington Department of Revenue
                                                               ❑ Contingent
       Washington Department of Revenue                        ❑ Unliquidated
       2101 4th Ave
                                                               ❑ Disputed
       Seattle, WA 98121                                       Basis for the Claim:
                                                               Excise Taxes
       Date or dates debt was incurred
                                                               Is the claim subject to offset?
       December 2022                                           ✔ No
                                                               ❑
       Last 4 digits of account                                ❑ Yes
       number - 8 9 6
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a)
       Remarks: WA Sales Excise Tax Payment Plan
       Priority creditor’s name and mailing address            As of the petition filing date, the claim is:
2.2                                                            Check all that apply.
                                                               ❑ Contingent
                                                               ❑ Unliquidated
                                                               ❑ Disputed
                                                               Basis for the claim:
       Date or dates debt was incurred


                                                               Is the claim subject to offset?
       Last 4 digits of account
                                                               ❑ No
       number
                                                               ❑ Yes
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a)




Official Form 206E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                              page 1 of 9
           23-10671-hcm Doc#1 Filed 08/25/23 Entered 08/25/23 13:40:10 Main Document Pg 24 of 65

Debtor        Steepologie, LLC                                                                                Case number (if known)
             Name

 Part 2: List All Creditors with NONPRIORITY Unsecured Claims

  3.     List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured
         claims, fill out and attach the Additional Page of Part 2.
                                                                                                                                       Amount of claim

3.1 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:              $13,038.00
                                                                            Check all that apply.
       ALDERWOOD MALL L.L.C.
                                                                            ❑ Contingent
       ALDERWOOD MALL L.L.C.                                                ❑ Unliquidated
                                                                            ❑ Disputed
       350 N. Orleans St                                                    Basis for the claim:
       Chicago, IL 60654                                                    Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
       Date or dates debt was incurred         June 2021

       Last 4 digits of account number

3.2 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:              $62,587.25
                                                                            Check all that apply.
       ALDERWOOD Mall, LLC
                                                                            ❑ Contingent
       ALDERWOOD Mall, LLC                                                  ❑ Unliquidated
                                                                            ❑ Disputed
       701 Fifth Avenue, Suite 3600                                         Basis for the claim: Judgement
       Seattle, WA 98104                                                    Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
       Date or dates debt was incurred

       Last 4 digits of account number

3.3 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:              $340.69
                                                                            Check all that apply.
       Alvarez Plumbing and Air Conditioning
                                                                            ❑ Contingent
                                                                            ❑ Unliquidated
       Alvarez Plumbing and Air Conditioning
                                                                            ✔ Disputed
                                                                            ❑
       1623 S 51st ST                                                       Basis for the claim: Unsecured Debt
       Tampa, FL 33619                                                      Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
       Date or dates debt was incurred

       Last 4 digits of account number

       Nonpriority creditor’s name and mailing address                      As of the petition filing date, the claim is:              $936.68
3.4                                                                         Check all that apply.
       American Express
                                                                            ❑ Contingent
                                                                            ❑ Unliquidated
       PO Box Box 981535
                                                                            ✔ Disputed
                                                                            ❑
       El Paso, TX 79998
                                                                            Basis for the claim: Credit card
                                                                            Is the claim subject to offset?
       Date or dates debt was incurred                                      ✔ No
                                                                            ❑
       Last 4 digits of account number
                                                                            ❑ Yes




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                              page 2 of 9
         23-10671-hcm Doc#1 Filed 08/25/23 Entered 08/25/23 13:40:10 Main Document Pg 25 of 65

Debtor      Steepologie, LLC                                                                             Case number (if known)
           Name




 Part 2: Additional Page

3.5 Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $13,394.24
                                                                       Check all that apply.
      American Express
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
      PO Box Box 981535
                                                                       ✔ Disputed
                                                                       ❑
      El Paso, TX 79998
                                                                       Basis for the claim: Credit card
                                                                       Is the claim subject to offset?
      Date or dates debt was incurred                                  ✔ No
                                                                       ❑
      Last 4 digits of account number
                                                                       ❑ Yes

3.6 Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $10,241.98
                                                                       Check all that apply.
      Barclays Card
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
      Hawaaian Airlines World Elite
                                                                       ✔ Disputed
                                                                       ❑
                                                                       Basis for the claim: Contract
      P.O. Box 8802
                                                                       Is the claim subject to offset?
      Wilmington, DE 19899                                             ✔ No
                                                                       ❑
                                                                       ❑ Yes
      Date or dates debt was incurred

      Last 4 digits of account number      1   7   2     0
      Remarks: LAST CHARGE WAS IN MARCH OF 2023

3.7 Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $41,434.00
                                                                       Check all that apply.
      Chase
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
      Chase Bank
                                                                       ✔ Disputed
                                                                       ❑
      PO BOX 6294                                                      Basis for the claim: Unsecured Debt
      Carol Stream, IL 60197-6294                                      Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes
      Date or dates debt was incurred

      Last 4 digits of account number      2   9   5     4

      Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:              $24,606.00
3.8                                                                    Check all that apply.
      Chase
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
      Chase Bank
                                                                       ✔ Disputed
                                                                       ❑
      PO BOX 6294                                                      Basis for the claim: Unsecured Debt
      Carol Stream, IL 60197-6294                                      Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes
      Date or dates debt was incurred

      Last 4 digits of account number




Official Form 206E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                      page 3 of 9
           23-10671-hcm Doc#1 Filed 08/25/23 Entered 08/25/23 13:40:10 Main Document Pg 26 of 65

Debtor        Steepologie, LLC                                                                              Case number (if known)
             Name




 Part 2: Additional Page

3.9      Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:              $15,703.30
                                                                          Check all that apply.
         Elan Financial Services
                                                                          ❑ Contingent
                                                                          ❑ Unliquidated
         Elan Financial Services
                                                                          ✔ Disputed
                                                                          ❑
                                                                          Basis for the claim: Card Services
         PO Box 790408
                                                                          Is the claim subject to offset?
         Saint Louis, MO 63179                                            ✔ No
                                                                          ❑
                                                                          ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number      9   3   9     0
         Remarks: LAST CHARGE WAS JULY 2023

3.10 Nonpriority creditor’s name and mailing address                      As of the petition filing date, the claim is:              $11,250.00
                                                                          Check all that apply.
         GGP Ala Moana LLC
                                                                          ❑ Contingent
         GGP Ala Moana LLC                                                ❑ Unliquidated
                                                                          ❑ Disputed
         350 N. Orleans Street 300                                                             STIPULATED FINAL
                                                                                               JUDGEMENT ATTACHED
         Chicago, IL 60654                                                Basis for the claim: TO SETTLEMENt
                                                                          Is the claim subject to offset?
         Date or dates debt was incurred      June 2021                   ✔ No
                                                                          ❑
                                                                          ❑ Yes
         Last 4 digits of account number
         Remarks:
         STIPULATED FINAL JUDGEMENT ATTACHED TO
         SETTLEMENT, PERSONAL GUARANTEES

3.11 Nonpriority creditor’s name and mailing address                      As of the petition filing date, the claim is:              unknown
                                                                          Check all that apply.
         GRAND RIDGE PLAZA II, LLC,
                                                                          ❑ Contingent
         c/o Regency Centers Corporation                                  ❑ Unliquidated
                                                                          ❑ Disputed
         One Independent Drive 114                                        Basis for the claim:
         Jacksonville, FL 32202-5019                                      Is the claim subject to offset?
                                                                          ✔ No
                                                                          ❑
                                                                          ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:              $5,726.69
3.12                                                                      Check all that apply.
         Home Depot Credit Services
                                                                          ❑ Contingent
                                                                          ❑ Unliquidated
         HOME DEPOT CREDIT SERVICES
                                                                          ✔ Disputed
                                                                          ❑
         P. O. Box 790328                                                 Basis for the claim: Card Services
         Saint Louis, MO 63179                                            Is the claim subject to offset?
                                                                          ✔ No
                                                                          ❑
                                                                          ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                       page 4 of 9
           23-10671-hcm Doc#1 Filed 08/25/23 Entered 08/25/23 13:40:10 Main Document Pg 27 of 65

Debtor        Steepologie, LLC                                                                              Case number (if known)
             Name




 Part 2: Additional Page

3.13 Nonpriority creditor’s name and mailing address                      As of the petition filing date, the claim is:              unknown
                                                                          Check all that apply.
         INTERNATIONAL TEA IMPORTERS
                                                                          ❑ Contingent
                                                                          ❑ Unliquidated
         INTERNATIONAL TEA IMPORTERS
                                                                          ✔ Disputed
                                                                          ❑
         2140 Davie Ave                                                   Basis for the claim: Unsecured Claim
         Los Angeles, CA 90040                                            Is the claim subject to offset?
                                                                          ✔ No
                                                                          ❑
                                                                          ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

3.14 Nonpriority creditor’s name and mailing address                      As of the petition filing date, the claim is:              $4,500.00
                                                                          Check all that apply.
         Kings Perez Flooring
                                                                          ❑ Contingent
         Kings Perez Flooring                                             ❑ Unliquidated
                                                                          ❑ Disputed
                                                                          Basis for the claim: Contract
         kingsperezflooring@gmail.com
                                                                          Is the claim subject to offset?
                                                                          ✔ No
                                                                          ❑
                                                                          ❑ Yes
         Date or dates debt was incurred      August 2023

         Last 4 digits of account number      0   3   7     9

3.15 Nonpriority creditor’s name and mailing address                      As of the petition filing date, the claim is:              $915.08
                                                                          Check all that apply.
         Klaviyo, Inc.
                                                                          ❑ Contingent
                                                                          ❑ Unliquidated
         125 Summer Street Floor 6
                                                                          ✔ Disputed
                                                                          ❑
         Boston, MA 02111
                                                                          Basis for the claim:
                                                                          Is the claim subject to offset?
         Date or dates debt was incurred                                  ✔ No
                                                                          ❑
         Last 4 digits of account number
                                                                          ❑ Yes

         Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:              $9,300.17
3.16                                                                      Check all that apply.
         PAYCOR c/o CST Co.
                                                                          ❑ Contingent
                                                                          ❑ Unliquidated
         PAYCOR c/o CST Co
                                                                          ✔ Disputed
                                                                          ❑
         PO Box 33127                                                     Basis for the claim: Unsecured Debt
         Louisville, KY 40232                                             Is the claim subject to offset?
                                                                          ✔ No
                                                                          ❑
                                                                          ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                      page 5 of 9
           23-10671-hcm Doc#1 Filed 08/25/23 Entered 08/25/23 13:40:10 Main Document Pg 28 of 65

Debtor        Steepologie, LLC                                                                              Case number (if known)
             Name




 Part 2: Additional Page

3.17 Nonpriority creditor’s name and mailing address                      As of the petition filing date, the claim is:              $4,541.68
                                                                          Check all that apply.
         PAYPAL CREDIT/SYNCB
                                                                          ❑ Contingent
                                                                          ❑ Unliquidated
         PAYPAL CREDIT/SYNCB
                                                                          ✔ Disputed
                                                                          ❑
         PO BOX 71707                                                     Basis for the claim: Unsecured Debt
         Philadelphia, PA 19176                                           Is the claim subject to offset?
                                                                          ✔ No
                                                                          ❑
                                                                          ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

3.18 Nonpriority creditor’s name and mailing address                      As of the petition filing date, the claim is:              $77,728.84
                                                                          Check all that apply.
         Paypal, LLC
                                                                          ❑ Contingent
                                                                          ❑ Unliquidated
         2211 North First Street
                                                                          ✔ Disputed
                                                                          ❑
         San Jose, California, CA 95131
                                                                          Basis for the claim: Unsecured Debt
                                                                          Is the claim subject to offset?
         Date or dates debt was incurred      Jun 17, 2022                ✔ No
                                                                          ❑
                                                                          ❑ Yes
         Last 4 digits of account number      5   6   2     8

3.19 Nonpriority creditor’s name and mailing address                      As of the petition filing date, the claim is:              unknown
                                                                          Check all that apply.
         PUGET SOUND ENERGY
                                                                          ❑ Contingent
         PUGET SOUND ENERGY                                               ❑ Unliquidated
                                                                          ❑ Disputed
         PO BOX 91269                                                     Basis for the claim:
         92690                                                            Is the claim subject to offset?
                                                                          ✔ No
                                                                          ❑
                                                                          ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:              unknown
3.20                                                                      Check all that apply.
         Puget Sound Leasing Co., Inc.
                                                                          ❑ Contingent
                                                                          ❑ Unliquidated
         P.O. Box 91269
                                                                          ✔ Disputed
                                                                          ❑
         Issaquah, WA 98027
                                                                          Basis for the claim: Unsecured Debt
                                                                          Is the claim subject to offset?
         Date or dates debt was incurred                                  ✔ No
                                                                          ❑
         Last 4 digits of account number
                                                                          ❑ Yes




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                       page 6 of 9
           23-10671-hcm Doc#1 Filed 08/25/23 Entered 08/25/23 13:40:10 Main Document Pg 29 of 65

Debtor        Steepologie, LLC                                                                           Case number (if known)
             Name




 Part 2: Additional Page

3.21 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              unknown
                                                                       Check all that apply.
         QUEST RESOURCE MANAGMENT GROUP LLC
                                                                       ❑ Contingent
         QUEST RESOURCE MANAGMENT GROUP LLC                            ❑ Unliquidated
                                                                       ❑ Disputed
         P.O. Box 560261                                               Basis for the claim: Unsecured Debt
         The Colony, TX 75056                                          Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

3.22 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $38,363.37
                                                                       Check all that apply.
         ROYAL TEA NEW YORK LLC
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         ROYAL TEA NEW YORK LLC
                                                                       ✔ Disputed
                                                                       ❑
         661 Hadley Road                                               Basis for the claim:
         South Plainfield, NJ 07080                                    Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Date or dates debt was incurred      April 2023

         Last 4 digits of account number

3.23 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $1,207.09
                                                                       Check all that apply.
         RWS Facility Services
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         Dept. #40299
                                                                       ✔ Disputed
                                                                       ❑
         PO Box Box 740209                                             Basis for the claim:
         Atlanta, GA 30374                                             Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $3,299.58
3.24                                                                   Check all that apply.
         SOU-TIER INC. (SAT)DBA
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         dba Robert F. Barnes
                                                                       ✔ Disputed
                                                                       ❑
         216 E. Rhapsody DR.                                           Basis for the claim: Unsecured Debt
         San Antonio, TX 78216                                         Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number




Official Form 206E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                       page 7 of 9
           23-10671-hcm Doc#1 Filed 08/25/23 Entered 08/25/23 13:40:10 Main Document Pg 30 of 65

Debtor        Steepologie, LLC                                                                       Case number (if known)
             Name




 Part 2: Additional Page

3.25 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $5,000.00
                                                                   Check all that apply.
         WEBBANK (RE: SHOPIFY CAPITAL)
                                                                   ❑ Contingent
                                                                   ❑ Unliquidated
         WEBBANK (RE: SHOPIFY CAPITAL)
                                                                   ✔ Disputed
                                                                   ❑
         100 Shockoe Slip, 2nd Floor                                                    Platform fees for July to
                                                                   Basis for the claim: August 2023
         Richmond, VA 23219
                                                                   Is the claim subject to offset?
                                                                   ✔ No
                                                                   ❑
         Date or dates debt was incurred                           ❑ Yes
         Last 4 digits of account number

3.26 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $4,053.89
                                                                   Check all that apply.
         YOTPO INC.
                                                                   ❑ Contingent
                                                                   ❑ Unliquidated
         YOTPO INC.
                                                                   ✔ Disputed
                                                                   ❑
         233 Spring ST. 6th Floor West                             Basis for the claim: Unsecured Debt
         New York, NY 10013                                        Is the claim subject to offset?
                                                                   ✔ No
                                                                   ❑
                                                                   ❑ Yes
         Date or dates debt was incurred   July 2023

         Last 4 digits of account number




Official Form 206E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                      page 8 of 9
          23-10671-hcm Doc#1 Filed 08/25/23 Entered 08/25/23 13:40:10 Main Document Pg 31 of 65

Debtor       Steepologie, LLC                                                                     Case number (if known)
            Name

 Part 4: Total Amounts of the Priority and Nonpriority Unsecured Claims


  5.     Add the amounts of priority and nonpriority unsecured claims.


                                                                                                   Total of claim amounts



  5a. Total claims from Part 1                                                     5a.              $44,624.00




  5b. Total claims from Part 2                                                     5b.              $348,168.53
                                                                                          +

  5c. Total of Parts 1 and 2                                                       5c.              $392,792.53
      Lines 5a + 5b = 5c.




Official Form 206E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                     page 9 of 9
          23-10671-hcm Doc#1 Filed 08/25/23 Entered 08/25/23 13:40:10 Main Document Pg 32 of 65

 Fill in this information to identify the case:

 Debtor name                                Steepologie, LLC

 United States Bankruptcy Court for the:
                                Western District of Texas


 Case number (if known):                                       Chapter   11                                                       ❑ Check if this is an
                                                                                                                                     amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                           12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries
consecutively.
 1.    Does the debtor have any executory contracts or unexpired leases?
       ❑ No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
       ✔ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official Form
       ❑
       206A/B).
 2. List all contracts and unexpired leases                                               State the name and mailing address for all other parties with whom the
                                                                                          debtor has an executory contract or unexpired lease

       State what the contract or            space number 1410                            GRAND RIDGE PLAZA II, LLC,
2.1    lease is for and the nature
       of the debtor’s interest                                                           c/o Regency Centers Corporation

       State the term remaining              0 months                                     One Independent Drive 114
                                                                                          Jacksonville, FL 32202-5019
       List the contract number of
       any government contract

       State what the contract or            Store Number 135,                            Tampa Westshore Associates
2.2    lease is for and the nature
       of the debtor’s interest

       State the term remaining              33 months                                    Tampa, FL

       List the contract number of
       any government contract

       State what the contract or            Commercial Lease for Space No. 214           ALDERWOOD MALL L.L.C.
2.3    lease is for and the nature           from the Alderwood Mall
       of the debtor’s interest

       State the term remaining              10 months                                    350 N. Orleans St Suite 300

       List the contract number of                                                        Chicago, IL 60654
       any government contract

       State what the contract or            Commercial Lease for 3420 Fremont Ave        Equinox Properties Corp.
2.4    lease is for and the nature           N, Seattle WA 98103
       of the debtor’s interest                                                           600 N 36th Street Suite 1

       State the term remaining              11 months                                    Seattle, WA 98103

       List the contract number of
       any government contract




Official Form 206G                                       Schedule G: Executory Contracts and Unexpired Leases                                             page 1 of 5
         23-10671-hcm Doc#1 Filed 08/25/23 Entered 08/25/23 13:40:10 Main Document Pg 33 of 65


Debtor      Steepologie, LLC                                                                            Case number (if known)
            Name

         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

   List all contracts and unexpired leases                                          State the name and mailing address for all other parties with whom the
                                                                                    debtor has an executory contract or unexpired lease

         State what the contract or      Store Number 172,                           Green Hills Mall TRG LLC
2.5      lease is for and the nature
         of the debtor’s interest                                                    200 East Long Lake Road Suite 300

         State the term remaining        0 months                                    Bloomfield Hills, MI 48304

         List the contract number of
         any government contract

         State what the contract or      Store No. 1155, Commercial Property         WEA SOUTHCENTER LLC
2.6      lease is for and the nature
         of the debtor’s interest                                                    WEA SOUTHCENTER LLC,

         State the term remaining        0 months                                    2049 Century Park East, 41st Floor
                                                                                     Los Angeles, CA 90067
         List the contract number of
         any government contract

         State what the contract or      Commercial Property, Store 164              SDG FASHION MALL LIMITED PARTNERSHIP,
2.7      lease is for and the nature
         of the debtor’s interest                                                    SDG FASHION MALL LIMITED PARTNERSHIP,

         State the term remaining        0 months                                    225 West Washington Street
                                                                                     Indianapolis, IN 46204
         List the contract number of
         any government contract

         State what the contract or      Commercial Lease for space M11, at          Simon Property Group (Texas), L.P.
2.8      lease is for and the nature     Barton Creek Square
         of the debtor’s interest                                                    M.S. Management Associates Inc.

         State the term remaining        112 months                                  225 West Washington Street
                                                                                     Indianapolis, IN 46204
         List the contract number of
         any government contract

         State what the contract or      Commercial Lease for Room 5150C,            SA Galleria, LLC
2.9      lease is for and the nature     Houston Galleria IV
         of the debtor’s interest                                                    M.S. Management Associates Inc.

         State the term remaining        33 months                                   225 West Washington Street
                                                                                     Indianapolis, IN 46204
         List the contract number of
         any government contract

         State what the contract or      Commercial Property                         MALL AT ROCKINGHAM, LLC
2.10     lease is for and the nature
         of the debtor’s interest                                                    MALL AT ROCKINGHAM, LLC

         State the term remaining        0 months                                    225 West Washington Street
                                                                                     Indianapolis, IN 46204
         List the contract number of
         any government contract




Official Form 206G                                  Schedule G: Executory Contracts and Unexpired Leases                                      page 2 of 5
         23-10671-hcm Doc#1 Filed 08/25/23 Entered 08/25/23 13:40:10 Main Document Pg 34 of 65


Debtor      Steepologie, LLC                                                                          Case number (if known)
            Name

         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

   List all contracts and unexpired leases                                          State the name and mailing address for all other parties with whom the
                                                                                    debtor has an executory contract or unexpired lease

         State what the contract or      Commercial Lease for B25C                   Newport Centre, LLC
2.11     lease is for and the nature
         of the debtor’s interest                                                    M.S. Management Associates Inc.

         State the term remaining        120 months                                  225 West Washington Street
                                                                                     Indianapolis, IN 46204
         List the contract number of
         any government contract



         State what the contract or      Commercial Lease for Room X101              Mall at Northshore, LLC
2.12     lease is for and the nature
         of the debtor’s interest                                                    M.S. Management Associates Inc.

         State the term remaining        120 months                                  225 West Washington Street
                                                                                     Indianapolis, IN 46204
         List the contract number of
         any government contract



         State what the contract or      Commercial Lease for Room E14               Mall at Smith Haven, LLC
2.13     lease is for and the nature
         of the debtor’s interest                                                    M.S. Management Associates Inc.

         State the term remaining        120 months                                  225 West Washington Street
                                                                                     Indianapolis, IN 46204
         List the contract number of
         any government contract



         State what the contract or      Commercial Lease for 3770                   Westchester Mall, LLC
2.14     lease is for and the nature
         of the debtor’s interest                                                    M.S. Management Associates Inc.

         State the term remaining        0 months                                    225 West Washington Street
                                                                                     Indianapolis, IN 46204
         List the contract number of
         any government contract



         State what the contract or      Commercial Lease for Room 2016              Bellweather Properties
2.15     lease is for and the nature
         of the debtor’s interest                                                    c/o M.S. Management Associates Inc.

         State the term remaining        0 months                                    225 West Washington Street
                                                                                     Indianapolis, IN 46204
         List the contract number of
         any government contract



         State what the contract or      Commercial Lease for Room E127B             MALL AT ROCKINGHAM, LLC
2.16     lease is for and the nature
         of the debtor’s interest                                                    MALL AT ROCKINGHAM, LLC

         State the term remaining        0 months                                    225 West Washington Street
                                                                                     Indianapolis, IN 46204
         List the contract number of
         any government contract




Official Form 206G                                  Schedule G: Executory Contracts and Unexpired Leases                                      page 3 of 5
         23-10671-hcm Doc#1 Filed 08/25/23 Entered 08/25/23 13:40:10 Main Document Pg 35 of 65


Debtor      Steepologie, LLC                                                                            Case number (if known)
            Name

         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

   List all contracts and unexpired leases                                          State the name and mailing address for all other parties with whom the
                                                                                    debtor has an executory contract or unexpired lease

         State what the contract or      Automotive Lease                            Lincoln Automotive Financial Services
2.17     lease is for and the nature
         of the debtor’s interest                                                    Customer Service Center

         State the term remaining        0 months                                    P.O. Box 542000
                                                                                     Omaha, NE 68154
         List the contract number of
         any government contract



         State what the contract or      Commercial Lease                            Blueprint Capital REIT, Inc.
2.18     lease is for and the nature
         of the debtor’s interest                                                    PO Box Box 16309

         State the term remaining        0 months                                    Seattle, WA 98116

         List the contract number of
         any government contract



         State what the contract or      Commercial Lease                            Old Vine - Kingwood Associates, LLLP
2.19     lease is for and the nature
         of the debtor’s interest                                                    c/o Old Vine Management Group, Inc.

         State the term remaining        0 months                                    1459 South Pearl Street
                                                                                     Denver, CO 80210
         List the contract number of
         any government contract



         State what the contract or      Commercial Lease                            Southcenter Mall
2.20     lease is for and the nature
         of the debtor’s interest                                                    WEA Southcenter LLC

         State the term remaining        0 months                                    2049 Century Park East, 41st Floor
                                                                                     Los Angeles, CA 90067
         List the contract number of
         any government contract



         State what the contract or      Commercial Lease                            Fashion Show Mall
2.21     lease is for and the nature
         of the debtor’s interest                                                    c/o M.S., Management Associates Inc.

         State the term remaining        0 months                                    225 West Washington Street
                                                                                     Indianapolis, IN 46204
         List the contract number of
         any government contract



         State what the contract or      Commercial Lease                            Greenwood Park Mall, LLC
2.22     lease is for and the nature
         of the debtor’s interest                                                    c/o M.S. Management Associates Inc.

         State the term remaining        0 months                                    225 West Washington Street
                                                                                     Indianapolis, IN 46204
         List the contract number of
         any government contract




Official Form 206G                                  Schedule G: Executory Contracts and Unexpired Leases                                      page 4 of 5
         23-10671-hcm Doc#1 Filed 08/25/23 Entered 08/25/23 13:40:10 Main Document Pg 36 of 65


Debtor      Steepologie, LLC                                                                          Case number (if known)
            Name

         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

   List all contracts and unexpired leases                                          State the name and mailing address for all other parties with whom the
                                                                                    debtor has an executory contract or unexpired lease

         State what the contract or      Commercial Lease                            Bellwether Properties
2.23     lease is for and the nature
         of the debtor’s interest                                                    c/o M.S. Management Associates Inc.

         State the term remaining        0 months                                    225 West Washington Street
                                                                                     Indianapolis, IN 46204
         List the contract number of
         any government contract



         State what the contract or      Commercial Lease                            Gibraltar, LLC
2.24     lease is for and the nature
         of the debtor’s interest                                                    720 Seneca St. Suite B

         State the term remaining        0 months                                    Seattle, WA 98101

         List the contract number of
         any government contract




Official Form 206G                                  Schedule G: Executory Contracts and Unexpired Leases                                      page 5 of 5
       23-10671-hcm Doc#1 Filed 08/25/23 Entered 08/25/23 13:40:10 Main Document Pg 37 of 65
 Fill in this information to identify the case:

  Debtor name          Steepologie, LLC


  United States Bankruptcy Court for the:               Western            District of             Texas

                                                                                                                                     ❑ Check if this is an
                                                                                         (State)
  Case number (If known):
                                                                                                                                          amended filing


Official Form 206H
Schedule H: Codebtors                                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively.
Attach the Additional Page to this page.


  1.    Does the debtor have any codebtors?
        ❑ No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
        ✔ Yes
        ❑
  2.    In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of creditors,
        Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule on which the
        creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

         Column 1: Codebtor                                                                                Column 2: Creditor

                                                                                                                                      Check all schedules
         Name                               Mailing address                                                Name
                                                                                                                                      that apply:

                                                                                                           Small Business             ✔D
                                                                                                                                      ❑
 2.1     Andrea Raetzer                     2901 S Capital of Texas Hwy,                                   Administration             ❑ E/F
                                            Street                                                                                    ❑G
                                                                                                           GGP Ala Moana LLC          ❑D
                                            Austin, TX 78746                                                                          ✔ E/F
                                                                                                                                      ❑
                                            City                   State                  ZIP Code                                    ❑G
                                                                                                           GRAND RIDGE PLAZA II,      ❑D
                                                                                                           LLC,                       ✔ E/F
                                                                                                                                      ❑
                                                                                                                                      ❑G
                                                                                                           Small Business             ✔D
                                                                                                                                      ❑
 2.2     Joe Raetzer                        2901 S Capital of Texas Hwy,                                   Administration             ❑ E/F
                                            Street                                                                                    ❑G
                                                                                                           GGP Ala Moana LLC          ❑D
                                            Austin, TX 78746                                                                          ✔ E/F
                                                                                                                                      ❑
                                            City                   State                  ZIP Code                                    ❑G
                                                                                                           GRAND RIDGE PLAZA II,      ❑D
                                                                                                           LLC,                       ✔ E/F
                                                                                                                                      ❑
                                                                                                                                      ❑G
 2.3                                                                                                                                  ❑D
                                            Street                                                                                    ❑ E/F
                                                                                                                                      ❑G

                                            City                   State                  ZIP Code




Official Form 206H                                                   Schedule H: Codebtors                                                     page 1 of    2
       23-10671-hcm Doc#1 Filed 08/25/23 Entered 08/25/23 13:40:10 Main Document Pg 38 of 65
Debtor      Steepologie, LLC                                                              Case number (if known)
            Name


                 Additional Page if Debtor Has More Codebtors

                Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                     Column 2: Creditor

                                                                                                                             Check all schedules
         Name                         Mailing address                                           Name
                                                                                                                             that apply:

 2.4                                                                                                                         ❑D
                                      Street                                                                                 ❑ E/F
                                                                                                                             ❑G

                                      City                   State             ZIP Code

 2.5                                                                                                                         ❑D
                                      Street                                                                                 ❑ E/F
                                                                                                                             ❑G

                                      City                   State             ZIP Code

 2.6                                                                                                                         ❑D
                                      Street                                                                                 ❑ E/F
                                                                                                                             ❑G

                                      City                   State             ZIP Code




Official Form 206H                                             Schedule H: Codebtors                                             page   2   of     2
            23-10671-hcm Doc#1 Filed 08/25/23 Entered 08/25/23 13:40:10 Main Document Pg 39 of 65


 Fill in this information to identify the case:

 Debtor name                                               Steepologie, LLC

 United States Bankruptcy Court for the:
                                            Western District of Texas


 Case number (if known):                                                                 Chapter           11                                                                                     ❑ Check if this is an
                                                                                                                                                                                                      amended filing

Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                                         12/15

 Part 1: Summary of Assets



 1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

    1a. Real Property:
           Copy line 88 from Schedule A/B........................................................................................................................................                                              $0.00


    1b. Total personal property:
           Copy line 91A from Schedule A/B......................................................................................................................................                                          $44,445.50

    1c. Total of all property:
           Copy line 92 from Schedule A/B.........................................................................................................................................
                                                                                                                                                                                                                          $44,445.50




  Part 2: Summary of Liabilities




 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
    Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D.................                                                                                                        $776,547.00



 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

    3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F....................................................................................                                                             $44,624.00


    3b. Total amount of claims of non-priority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F......................................................                                                           +            $348,168.53




 4. Total liabilities..............................................................................................................................................................................                    $1,169,339.53

    Lines 2 + 3a + 3b




Official Form 206Sum                                                                           Summary of Assets and Liabilities for Non-Individuals                                                                            page 1
            23-10671-hcm Doc#1 Filed 08/25/23 Entered 08/25/23 13:40:10 Main Document Pg 40 of 65

 Fill in this information to identify the case:

 Debtor name                                 Steepologie, LLC

 United States Bankruptcy Court for the:
                                   Western District of Texas


 Case number (if known):                                                                                                       ❑ Check if this is an
                                                                                                                                   amended filing

Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                  04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s
name and case number (if known).



 Part 1: Income


 1.     Gross revenue from business

         ❑ None
        Identify the beginning and ending dates of the debtor’s fiscal year, which         Sources of revenue                 Gross revenue
        may be a calendar year                                                             Check all that apply               (before deductions and
                                                                                                                              exclusions)

       From the beginning of the                                                         ✔ Operating a business
                                                                                         ❑                                                     $223,103.00
                                                                                         ❑ Other
       fiscal year to filing date:        From 01/01/2023         to    Filing date
                                                  MM/ DD/ YYYY


       For prior year:                    From 01/01/2022         to    12/31/2022       ✔ Operating a business
                                                                                         ❑                                                   $1,654,723.00
                                                  MM/ DD/ YYYY            MM/ DD/ YYYY   ✔ Other Claimed on SOFA
                                                                                         ❑

       For the year before that:          From 01/01/2021         to    12/31/2021       ✔ Operating a business
                                                                                         ❑                                                     $888,790.00
                                                  MM/ DD/ YYYY            MM/ DD/ YYYY
                                                                                         ❑ Other


 2.     Non-business revenue
         Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits, and
         royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

         ✔ None
         ❑
                                                                                         Description of sources of revenue    Gross revenue from each
                                                                                                                              source
                                                                                                                              (before deductions and
                                                                                                                              exclusions)

      From the beginning of the
      fiscal year to filing date:       From 01/01/2023          to    Filing date
                                                  MM/ DD/ YYYY


      For prior year:                   From 01/01/2022          to    12/31/2022
                                                  MM/ DD/ YYYY           MM/ DD/ YYYY


      For the year before that:         From 01/01/2021          to    12/31/2021
                                                  MM/ DD/ YYYY           MM/ DD/ YYYY




Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 1
Debtor
           23-10671-hcm
            Steepologie, LLC
                             Doc#1 Filed 08/25/23 Entered 08/25/23 13:40:10Case
                                                                             Main   Document Pg 41 of 65
                                                                                number (if known)
                 Name

 Part 2: List Certain Transfers Made Before Filing for Bankruptcy
 3.     Certain payments or transfers to creditors within 90 days before filing this case
        List payments or transfers—including expense reimbursements—to any creditor, other than regular employee compensation, within 90 days before filing
        this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25 and every 3
        years after that with respect to cases filed on or after the date of adjustment.)

        ✔ None
        ❑
         Creditor’s name and address                        Dates              Total amount or value           Reasons for payment or transfer
                                                                                                               Check all that apply

 3.1.                                                                                                          ❑ Secured debt
        Creditor's name                                                                                        ❑ Unsecured loan repayments
                                                                                                               ❑ Suppliers or vendors
                                                                                                               ❑ Services
        Street

                                                                                                               ❑ Other
        City                        State    ZIP Code



 4.     Payments or other transfers of property made within 1 year before filing this case that benefited any insider
        List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed or
        co-signed by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount may be
        adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments listed in line 3.
        Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership debtor and their
        relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).
        ✔ None
        ❑
         Insider’s name and address                         Dates              Total amount or value           Reasons for payment or transfer


 4.1.
        Creditor's name


        Street




        City                        State    ZIP Code

         Relationship to debtor




 5.     Repossessions, foreclosures, and returns
        List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at a
        foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
        ✔ None
        ❑
         Creditor’s name and address                        Description of the property                               Date                    Value of property




Official Form 207                               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                           page 2
Debtor
           23-10671-hcm
            Steepologie, LLC
                             Doc#1 Filed 08/25/23 Entered 08/25/23 13:40:10Case
                                                                             Main   Document Pg 42 of 65
                                                                                number (if known)
                 Name

 5.1.
        Creditor's name


        Street




        City                        State     ZIP Code



 6.     Setoffs
        List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of the
        debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
        ✔ None
        ❑
         Creditor’s name and address                        Description of the action creditor took                    Date action was         Amount
                                                                                                                       taken

 6.1.
        Creditor's name
                                                             XXXX–
        Street




        City                        State     ZIP Code




 Part 3: Legal Actions or Assignments
 7.     Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
        List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved in any
        capacity—within 1 year before filing this case.
        ❑ None
 7.1.    Case title                              Nature of case                          Court or agency's name and address                    Status of case

        GGP ALA MOANA L.L.C., a                 A Breach of the Lease at Ala            The District Court of the First Circuit Honolulu      ❑ Pending
        Delaware limited liability
        company, Plaintiff, v.
                                                Moana Center at the premise
                                                Space Number 2308.
                                                                                        Divison
                                                                                        Name                                                  ❑ On appeal
        Steepologie LLC, a Washington                                                   1111 Alakea Street                                    ✔ Concluded
                                                                                                                                              ❑
        limited liability company;                                                      Street
        Joseph Raetzer; Andrea
        Raetzer
                                                                                        Honolulu, HI 96813
                                                                                        City                         State     ZIP Code
         Case number



 7.2.    Case title                              Nature of case                          Court or agency's name and address                    Status of case

        Alderwood Mall, L.L.C a                 A Breach of the Commercial              Superior Court for the State of Washington In         ❑ Pending
        Delaware limited liability
        company, Plaintiff, v.
                                                Lease at 300 184th Street SW.
                                                Lynwood Washington,
                                                                                        the County of Snohomish
                                                                                        Name                                                  ❑ On appeal
        Steepologie LLC a Washington            Alderwood Mall Space 214.Mal            3000 Rockefeller Avenue                               ✔ Concluded
                                                                                                                                              ❑
        limited liability company d/b/a                                                 Street
        Steepologie Teas; and All
        Other Occupants, Defendants
                                                                                        Everett, WA 98201
                                                                                        City                         State     ZIP Code
         Case number




Official Form 207                               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                             page 3
Debtor
           23-10671-hcm
            Steepologie, LLC
                             Doc#1 Filed 08/25/23 Entered 08/25/23 13:40:10Case
                                                                             Main   Document Pg 43 of 65
                                                                                number (if known)
                 Name
 7.3.    Case title                             Nature of case                          Court or agency's name and address                  Status of case

        - Grand Ridge Plaza II LLC vs          Lease dispute -                        KING County Superior Court                          ✔ Pending
                                                                                                                                          ❑
                                                                                                                                          ❑ On appeal
        STEEPOLOGIE LLC AND                                                           Name
        ANDREA RAETZER AND                                                            516 Third Ave.
        JOSEPH RAETZER                                                                Street                                              ❑ Concluded
                                                                                      KING County Superior Court
         Case number                                                                  Seattle, WA 98104
                                                                                      City                          State   ZIP Code
        CASE #: 23-2-00330-6 SEA



 8.     Assignments and receivership
        List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
        receiver, custodian, or other court-appointed officer within 1 year before filing this case.
        ✔ None
        ❑
 8.1.    Custodian’s name and address                     Description of the property                         Value


        Custodian’s name
                                                          Case title                                          Court name and address
        Street
                                                                                                             Name

                                                          Case number                                        Street
        City                        State     ZIP Code



                                                          Date of order or assignment                        City                        State    ZIP Code




 Part 4: Certain Gifts and Charitable Contributions
 9.     List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of the gifts
        to that recipient is less than $1,000
        ✔ None
        ❑
 9.1.    Recipient’s name and address                      Description of the gifts or contributions                  Dates given        Value


        Recipient’s name


        Street




        City                        State     ZIP Code


         Recipient’s relationship to debtor




 Part 5: Certain Losses
 10. All losses from fire, theft, or other casualty within 1 year before filing this case.
        ✔ None
        ❑




Official Form 207                               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                            page 4
Debtor
            23-10671-hcm
             Steepologie, LLC
                              Doc#1 Filed 08/25/23 Entered 08/25/23 13:40:10Case
                                                                              Main   Document Pg 44 of 65
                                                                                 number (if known)
                  Name

           Description of the property lost and how the         Amount of payments received for the loss                     Date of loss      Value of property
           loss occurred                                        If you have received payments to cover the loss, for                           lost
                                                                example, from insurance, government compensation,
                                                                or tort liability, list the total received.
                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).


 10.1.




 Part 6: Certain Payments or Transfers
 11. Payments related to bankruptcy
         List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing of this
         case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy relief, or filing a
         bankruptcy case.
         ❑ None
 11.1.    Who was paid or who received the transfer?             If not money, describe any property transferred           Dates               Total amount or
                                                                                                                                               value

         Barron & Newburger, P.C.                               Legal Representation                                      July 2023                    $12,000.00


          Address

         7320 N Mopac Expy Ste 400
         Street


         Austin, TX 78731-2347
         City                        State    ZIP Code


          Email or website address

         https://bn-lawyers.com/

          Who made the payment, if not debtor?

         Steepologie, LLC




 12. Self-settled trusts of which the debtor is a beneficiary
         List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to a
         self-settled trust or similar device.
         Do not include transfers already listed on this statement.
         ✔ None
         ❑
 12.1.     Name of trust or device                             Describe any property transferred                         Dates transfers       Total amount or
                                                                                                                         were made             value




           Trustee




Official Form 207                                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                           page 5
Debtor
            23-10671-hcm
             Steepologie, LLC
                              Doc#1 Filed 08/25/23 Entered 08/25/23 13:40:10Case
                                                                              Main   Document Pg 45 of 65
                                                                                 number (if known)
                Name



 13. Transfers not already listed on this statement
         List any transfers of money or other property—by sale, trade, or any other means—made by the debtor or a person acting on behalf of the debtor within 2
         years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include both
         outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.
         ✔ None
         ❑
 13.1.    Who received the transfer?                          Description of property transferred or payments           Date transfer     Total amount or
                                                              received or debts paid in exchange                        was made          value




          Address


         Street




         City                        State       ZIP Code


          Relationship to debtor




 Part 7: Previous Locations
 14. Previous addresses
         List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.
         ✔ Does not apply
         ❑
          Address                                                                                           Dates of occupancy

 14.1.                                                                                                     From                     To
         Street




         City                        State       ZIP Code




 Part 8: Health Care Bankruptcies
 15. Health Care bankruptcies
         Is the debtor primarily engaged in offering services and facilities for:
          —diagnosing or treating injury, deformity, or disease, or
          —providing any surgical, psychiatric, drug treatment, or obstetric care?
         ✔ No. Go to Part 9.
         ❑
         ❑ Yes. Fill in the information below.




Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 6
Debtor
            23-10671-hcm
             Steepologie, LLC
                              Doc#1 Filed 08/25/23 Entered 08/25/23 13:40:10Case
                                                                              Main   Document Pg 46 of 65
                                                                                 number (if known)
                  Name

          Facility name and address                       Nature of the business operation, including type of services the         If debtor provides meals
                                                          debtor provides                                                          and housing, number of
                                                                                                                                   patients in debtor’s care

 15.1.
         Facility name


         Street
                                                          Location where patient records are maintained(if different from          How are records kept?
                                                          facility address). If electronic, identify any service provider.
         City                     State     ZIP Code                                                                              Check all that apply:
                                                                                                                                  ❑ Electronically
                                                                                                                                  ❑ Paper


 Part 9: Personally Identifiable Information

 16. Does the debtor collect and retain personally identifiable information of customers?
         ✔ No.
         ❑
         ❑ Yes. State the nature of the information collected and retained.
                    Does the debtor have a privacy policy about that information?
                    ❑ No
                    ❑ Yes
 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b) or other pension or profit-
     sharing plan made available by the debtor as an employee benefit?
         ✔ No. Go to Part 10.
         ❑
         ❑ Yes. Does the debtor serve as plan administrator?
                ❑ No. Go to Part 10.
                ❑ Yes. Fill in below:
                         Name of plan                                                                 Employer identification number of the plan

                                                                                                     EIN:        –

                          Has the plan been terminated?
                          ❑ No
                          ❑ Yes


 Part 10: Certain Financial Accounts, Safe Deposit Boxes, and Storage Units
 18. Closed financial accounts
         Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold, moved,
         or transferred?
         Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
         cooperatives, associations, and other financial institutions.
         ✔ None
         ❑
          Financial institution name and address            Last 4 digits of account     Type of account             Date account was          Last balance
                                                            number                                                   closed, sold, moved,      before closing
                                                                                                                     or transferred            or transfer

 18.1                                                       XXXX–                       ❑ Checking
         Name
                                                                                        ❑ Savings
         Street
                                                                                        ❑ Money market
                                                                                        ❑ Brokerage
                                                                                        ❑ Other
         City                       State   ZIP Code



Official Form 207                                 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                         page 7
Debtor
            23-10671-hcm
             Steepologie, LLC
                              Doc#1 Filed 08/25/23 Entered 08/25/23 13:40:10Case
                                                                              Main   Document Pg 47 of 65
                                                                                 number (if known)
                  Name
 19. Safe deposit boxes
         List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.
         ✔ None
         ❑
 19.1     Depository institution name and address          Names of anyone with access to it            Description of the contents                Does debtor
                                                                                                                                                   still have it?

                                                                                                                                                  ❑ No
                                                                                                                                                  ❑ Yes
         Name


         Street

                                                           Address

         City                      State     ZIP Code


 20. Off-premises storage
         List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in which the
         debtor does business.
         ✔ None
         ❑
 20.1     Facility name and address                        Names of anyone with access to it            Description of the contents                Does debtor
                                                                                                                                                   still have it?

                                                                                                                                                  ❑ No
                                                                                                                                                  ❑ Yes
         Name


         Street

                                                           Address

         City                      State     ZIP Code




 Part 11: Property the Debtor Holds or Controls That the Debtor Does Not Own
 21. Property held for another
         List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do not list
         leased or rented property.
         ✔ None
         ❑
          Owner’s name and address                                Location of the property                     Description of the property                 Value


         Name


         Street




         City                        State     ZIP Code




 Part 12: Details About Environmental Information


 For the purpose of Part 12, the following definitions apply:
        Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
        medium affected (air, land, water, or any other medium).
        Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
        owned, operated, or utilized.




Official Form 207                                 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                            page 8
Debtor
          23-10671-hcm
           Steepologie, LLC
                            Doc#1 Filed 08/25/23 Entered 08/25/23 13:40:10Case
                                                                            Main   Document Pg 48 of 65
                                                                               number (if known)
               Name
     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a similarly
     harmful substance.

 Report all notices, releases, and proceedings known, regardless of when they occurred.

 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.
      ✔ No
      ❑
      ❑ Yes. Provide details below.
         Case title                               Court or agency name and address                     Nature of the case                         Status of case

                                                                                                                                                 ❑ Pending
         Case number
                                                 Name
                                                                                                                                                 ❑ On appeal
                                                 Street
                                                                                                                                                 ❑ Concluded


                                                 City                        State   ZIP Code

 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
     environmental law?
      ✔ No
      ❑
      ❑ Yes. Provide details below.
         Site name and address                    Governmental unit name and address                   Environmental law, if known                Date of notice


      Name                                       Name


      Street                                     Street




      City                 State   ZIP Code      City                        State   ZIP Code

 24. Has the debtor notified any governmental unit of any release of hazardous material?
      ✔ No
      ❑
      ❑ Yes. Provide details below.
         Site name and address                    Governmental unit name and address                   Environmental law, if known                Date of notice


      Name                                       Name


      Street                                     Street




      City                 State   ZIP Code      City                        State   ZIP Code




 Part 13: Details About the Debtor’s Business or Connections to Any Business


 25. Other businesses in which the debtor has or has had an interest
      List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case. Include this
      information even if already listed in the Schedules.
      ❑ None




Official Form 207                             Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 9
Debtor
            23-10671-hcm
             Steepologie, LLC
                              Doc#1 Filed 08/25/23 Entered 08/25/23 13:40:10Case
                                                                              Main   Document Pg 49 of 65
                                                                                 number (if known)
                 Name

          Business name and address                  Describe the nature of the business                       Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.
 25.1.
         Dawn Smith                                                                                           EIN:          –
         Name
         918 S Horton ST                                                                                       Dates business existed
         Street
                                                                                                              From                 To
         Seattle Public Accounting
         Seattle, WA 98134
         City                 State   ZIP Code


 26. Books, records, and financial statements
 26a.     List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
          ❑None
           Name and address                                                                                     Dates of service

 26a.1. Dawn Smith                                                                                             From May 2016        To June 2022
          Name
          918 S Horton ST Suite 714
          Street
          Seattle Public Accounting
          Seattle, WA 98134
          City                                           State                  ZIP Code

           Name and address                                                                                     Dates of service

 26a.2. Bench Accounting                                                                                       From 2022            To Present
          Name
          Bench.com
          Street




          City                                           State                  ZIP Code


 26b.     List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
          statement within 2 years before filing this case.
          ❑None
           Name and address                                                                                     Dates of service

 26b.1. Dawn Smith
                                                                                                               From                 To
          Name
          918 S Horton ST Suite 714
          Street
          Seattle Public Accounting
          Seattle, WA 98134
          City                                           State                  ZIP Code

           Name and address                                                                                     Dates of service

 26b.2. Bench Accounting                                                                                                               2022-
          Name                                                                                                 From May 2016        To Present

          Street




          City                                           State                  ZIP Code


 26c.     List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
          ✔None
          ❑

Official Form 207                                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 10
Debtor
             23-10671-hcm
              Steepologie, LLC
                               Doc#1 Filed 08/25/23 Entered 08/25/23 13:40:10Case
                                                                               Main   Document Pg 50 of 65
                                                                                  number (if known)
                  Name

            Name and address                                                                                    If any books of account and records are
                                                                                                                unavailable, explain why
 26c.1.


           Name


           Street




           City                                             State                  ZIP Code

 26d.      List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
           statement within 2 years before filing this case.
           ✔None
           ❑
            Name and address

 26d.1.
           Name


           Street




           City                                             State                  ZIP Code


 27. Inventories
         Have any inventories of the debtor’s property been taken within 2 years before filing this case?
         ❑ No
         ✔ Yes. Give the details about the two most recent inventories.
         ❑
           Name of the person who supervised the taking of the inventory                          Date of        The dollar amount and basis (cost, market, or
                                                                                                  inventory      other basis) of each inventory

          Joe Raetzer                                                                            December 31,                                        $138,379.00
                                                                                                 2021


           Name and address of the person who has possession of inventory records

 27.1.
          Name


          Street




          City                                      State               ZIP Code

           Name of the person who supervised the taking of the inventory                          Date of        The dollar amount and basis (cost, market, or
                                                                                                  inventory      other basis) of each inventory

          Joe Raetzer                                                                            December 31,                                        $110,160.00
                                                                                                 2020


           Name and address of the person who has possession of inventory records

 27.2.
          Name


          Street




          City                                      State               ZIP Code

Official Form 207                               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 11
Debtor
            23-10671-hcm
             Steepologie, LLC
                              Doc#1 Filed 08/25/23 Entered 08/25/23 13:40:10Case
                                                                              Main   Document Pg 51 of 65
                                                                                 number (if known)
                Name
 28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people in
     control of the debtor at the time of the filing of this case.
          Name                              Address                                                        Position and nature of any            % of interest, if any
                                                                                                           interest

         Joe Raetzer                                                                                      President,                                          50.00%

         Andrea Raetzer                    2901 S Capital of Texas Hwy, Austin, TX 78746                  Vice-President,                                     50.00%

 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control of
     the debtor, or shareholders in control of the debtor who no longer hold these positions?
         ✔ No
         ❑
         ❑ Yes. Identify below.
          Name                              Address                                                     Position and nature of any       Period during which
                                                                                                        interest                         position or interest was
                                                                                                                                         held

                                                                                                    ,                                     From
                                                                                                                                          To

 30. Payments, distributions, or withdrawals credited or given to insiders
         Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses, loans,
         credits on loans, stock redemptions, and options exercised?
         ✔ No
         ❑
         ❑ Yes. Identify below.
          Name and address of recipient                                        Amount of money or description               Dates                Reason for providing
                                                                               and value of property                                             the value


 30.1.
         Name


         Street




         City                                     State        ZIP Code


          Relationship to debtor



 31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
         ✔ No
         ❑
         ❑ Yes. Identify below.
                Name of the parent corporation                                                      Employer Identification number of the parent corporation

                                                                                                   EIN:          –


 32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
         ✔ No
         ❑
         ❑ Yes. Identify below.
                Name of the pension fund                                                            Employer Identification number of the pension fund

                                                                                                   EIN:          –



 Part 14: Signature and Declaration




Official Form 207                                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                        page 12
Debtor
         23-10671-hcm
          Steepologie, LLC
                           Doc#1 Filed 08/25/23 Entered 08/25/23 13:40:10Case
                                                                           Main   Document Pg 52 of 65
                                                                              number (if known)
            Name


    WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with a
    bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


    I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true and
    correct.


    I declare under penalty of perjury that the foregoing is true and correct.


    Executed on          08/25/2023
                     MM/ DD/ YYYY




    ✘ /s/ Andrea Raetzer                                                 Printed name                      Andrea Raetzer
         Signature of individual signing on behalf of the debtor



      Position or relationship to debtor         President - Owner



    Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
    ✔ No
    ❑
    ❑ Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              page 13
          23-10671-hcm Doc#1 Filed 08/25/23 Entered 08/25/23 13:40:10 Main Document Pg 53 of 65

 Fill in this information to identify the case:

 Debtor name                                Steepologie, LLC

 United States Bankruptcy Court for the:
                                Western District of Texas


 Case number (if known):                                                                                                                  ❑ Check if this is an
                                                                                                                                             amended filing

Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20
Largest Unsecured Claims and Are Not Insiders                                                                                                                         12/15
A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not
include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the
unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20 largest unsecured claims.

    Name of creditor and complete             Name, telephone number,         Nature of the claim     Indicate if      Amount of unsecured claim
    mailing address, including zip code       and email address of            (for example, trade     claim is         If the claim is fully unsecured, fill in only
                                              creditor contact                debts, bank loans,      contingent,      unsecured claim amount. If claim is partially
                                                                              professional            unliquidated,    secured, fill in total claim amount and deduction
                                                                              services, and           or disputed      for value of collateral or setoff to calculate
                                                                              government                               unsecured claim.
                                                                              contracts)                               Total claim, if    Deduction for       Unsecured
                                                                                                                       partially          value of            claim
                                                                                                                       secured            collateral or
                                                                                                                                          setoff
1     ALDERWOOD MALL L.L.C.                                                                                                                                       $13,038.00
      ALDERWOOD MALL L.L.C.
      350 N. Orleans St
      Chicago, IL 60654

2     ALDERWOOD Mall, LLC                     (206) 622-8020                  Judgement                                                                           $62,587.25
      ALDERWOOD Mall, LLC
      701 Fifth Avenue, Suite 3600
      Seattle, WA 98104

3     American Express                                                        Credit card             Disputed                                                    $13,394.24
      PO Box Box 981535
      El Paso, TX 79998


4     Barclays Card                                                           Contract                Disputed                                                    $10,241.98
      Hawaaian Airlines World Elite
      P.O. Box 8802
      Wilmington, DE 19899

5     Chase                                                                   Unsecured Debt          Disputed                                                    $41,434.00
      Chase Bank
      PO BOX 6294
      Carol Stream, IL 60197-6294

6     Chase                                                                   Unsecured Debt          Disputed                                                    $24,606.00
      Chase Bank
      PO BOX 6294
      Carol Stream, IL 60197-6294

7     Clear Finance Tech Corp.                                                                        Disputed                                                    $117,065.00
      Clear Finance Tech Corp
      CLEARCO CAPITAL
      1200-33 Yonge Street
      Toronto, Ontario, M5E 1G4,
8     Elan Financial Services                                                 Card Services           Disputed                                                    $15,703.30
      Elan Financial Services
      PO Box 790408
      Saint Louis, MO 63179


Official Form 204                             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                               page 1
          23-10671-hcm Doc#1 Filed 08/25/23 Entered 08/25/23 13:40:10 Main Document Pg 54 of 65

Debtor       Steepologie, LLC                                                                                 Case number (if known)
             Name

    Name of creditor and complete         Name, telephone number,         Nature of the claim     Indicate if      Amount of unsecured claim
    mailing address, including zip code   and email address of            (for example, trade     claim is         If the claim is fully unsecured, fill in only
                                          creditor contact                debts, bank loans,      contingent,      unsecured claim amount. If claim is partially
                                                                          professional            unliquidated,    secured, fill in total claim amount and deduction
                                                                          services, and           or disputed      for value of collateral or setoff to calculate
                                                                          government                               unsecured claim.
                                                                          contracts)                               Total claim, if    Deduction for    Unsecured
                                                                                                                   partially          value of         claim
                                                                                                                   secured            collateral or
                                                                                                                                      setoff
9     GGP Ala Moana LLC                                                   STIPULATED                                                                       $11,250.00
      GGP Ala Moana LLC                                                   FINAL
      350 N. Orleans Street 300                                           JUDGEMENT
      Chicago, IL 60654                                                   ATTACHED TO
                                                                          SETTLEMENt
10 Home Depot Credit Services                                             Card Services           Disputed                                                  $5,726.69
   HOME DEPOT CREDIT
   SERVICES
   P. O. Box 790328
   Saint Louis, MO 63179
11 Kings Perez Flooring                   (512) 619-9208                  Contract                                                                          $4,500.00
   Kings Perez Flooring
   kingsperezflooring@gmail.com
   ,

12 PAYCOR c/o CST Co.                                                     Unsecured Debt          Disputed                                                  $9,300.17
   PAYCOR c/o CST Co
   PO Box 33127
   Louisville, KY 40232

13 PAYPAL CREDIT/SYNCB                                                    Unsecured Debt          Disputed                                                  $4,541.68
   PAYPAL CREDIT/SYNCB
   PO BOX 71707
   Philadelphia, PA 19176

14 Paypal, LLC                                                            Unsecured Debt          Disputed                                                 $77,728.84
   2211 North First Street
   San Jose, California, CA 95131


15 ROYAL TEA NEW YORK LLC                                                                         Disputed                                                 $38,363.37
   ROYAL TEA NEW YORK LLC
   661 Hadley Road
   South Plainfield, NJ 07080

16 Small Business Administration                                          Small Business                              $467,632.00        $44,445.50      $423,186.50
   Little Rock Loan Servicing                                             Loan
   2120 Riverfront Drive, Suite 100
   Little Rock, AR 72202

17 Washington Department of                                               Excise Taxes                                                                     $44,624.00
   Revenue
      Washington Department of
      Revenue
      2101 4th Ave
      Seattle, WA 98121
18 WEBBANK (RE: SHOPIFY                                                                                                                                  $191,850.00
   CAPITAL)
      WEBBANK (RE: SHOPIFY
      CAPITAL)
      100 Shockoe Slip, 2nd Floor
      Richmond, VA 23219
19 WEBBANK (RE: SHOPIFY                                                   Platform fees for       Disputed                                                  $5,000.00
   CAPITAL)                                                               July to August
      WEBBANK (RE: SHOPIFY                                                2023
      CAPITAL)
      100 Shockoe Slip, 2nd Floor
      Richmond, VA 23219

Official Form 204                         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                            page 2
20 YOTPO INC.                                         Unsecured Debt   Disputed                       $4,053.89
       23-10671-hcm
   YOTPO   INC.               Doc#1   Filed 08/25/23 Entered 08/25/23 13:40:10 Main Document Pg 55 of 65
   233 Spring ST. 6th Floor West
   New York, NY 10013
     23-10671-hcm Doc#1 Filed 08/25/23 Entered 08/25/23 13:40:10 Main Document Pg 56 of 65


B2030 (Form 2030) (12/15)


                                                            United States Bankruptcy Court
                                                                                  Western District of Texas

In re        Steepologie, LLC

                                                                                                                           Case No.

Debtor                                                                                                                     Chapter                      11


                                         DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1.      Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
        compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered
        or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

        For legal services, I have agreed to accept ................................................................................................................................................
                                                                                                                                                                              $0.00

        Prior to the filing of this statement I have received ................................................................................................................................................
                                                                                                                                                                             $0.00

        Balance Due ................................................................................................................................................            $0.00

2.      The source of the compensation paid to me was:

        ✔ Debtor
        ❑                                ❑ Other (specify)
3.      The source of compensation to be paid to me is:

        ✔ Debtor
        ❑                                ❑ Other (specify)
4.      ✔ I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my
        ❑
        law firm.

        ❑ I have agreed to share the above-disclosed compensation with a other person or persons who are not members or associates of my
        law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.

5.      In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

        a.      Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to file a petition in
                bankruptcy;

        b.      Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

        c.      Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

6.      By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                                                                  Page 1 of 2
   23-10671-hcm Doc#1 Filed 08/25/23 Entered 08/25/23 13:40:10 Main Document Pg 57 of 65


B2030 (Form 2030) (12/15)


                                                             CERTIFICATION

                        I certify that the foregoing is a complete statement of any agreement or arrangement for payment to
                me for representation of the debtor(s) in this bankruptcy proceeding.

                        08/25/2023                                             /s/ Stephen W Sather
                Date                                         Stephen W Sather
                                                             Signature of Attorney
                                                                                            Bar Number: 17657520
                                                                                          Barron & Newburger, P.C.
                                                                                    7320 N. MoPac Expressway 400
                                                                                                  Austin, TX 78731
                                                                                        Phone: (512) 476-9103 x220

                                                                           Barron & Newburger, P.C.
                                                            Name of law firm




                                                                 Page 2 of 2
23-10671-hcm Doc#1 Filed 08/25/23 Entered 08/25/23 13:40:10 Main Document Pg 58 of 65

                                                IN THE UNITED STATES BANKRUPTCY COURT
                                                       WESTERN DISTRICT OF TEXAS
                                                             AUSTIN DIVISION

IN RE: Steepologie, LLC                                                               CASE NO

                                                                                      CHAPTER 11




                                                  VERIFICATION OF CREDITOR MATRIX

 The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.


Date      08/25/2023            Signature                                /s/ Andrea Raetzer
                                                                   Andrea Raetzer, President - Owner
23-10671-hcm Doc#1 Filed 08/25/23 Entered 08/25/23 13:40:10 Main Document Pg 59 of 65


                                 ALDERWOOD MALL L.L.C.
                                 ALDERWOOD MALL L.L.C.
                                 350 N. Orleans St
                                 Chicago, IL 60654



                                 ALDERWOOD MALL L.L.C.
                                 350 N. Orleans St Suite 300
                                 Chicago, IL 60654




                                 ALDERWOOD Mall, LLC
                                 ALDERWOOD Mall, LLC
                                 701 Fifth Avenue, Suite 3600
                                 Seattle, WA 98104



                                 Alvarez Plumbing and Air
                                 Conditioning
                                 Alvarez Plumbing and Air Conditioning
                                 1623 S 51st ST
                                 Tampa, FL 33619


                                 American Express
                                 PO Box Box 981535
                                 El Paso, TX 79998




                                 American Express
                                 PO Box Box 981535
                                 El Paso, TX 79998




                                 Andrea Raetzer
                                 2901 S Capital of Texas Hwy,
                                 Austin, TX 78746




                                 Barclays Card
                                 Hawaaian Airlines World Elite
                                 P.O. Box 8802
                                 Wilmington, DE 19899
23-10671-hcm Doc#1 Filed 08/25/23 Entered 08/25/23 13:40:10 Main Document Pg 60 of 65


                                 Bellweather Properties
                                 c/o M.S. Management Associates Inc.
                                 225 West Washington Street
                                 Indianapolis, IN 46204



                                 Bellwether Properties
                                 c/o M.S. Management Associates Inc.
                                 225 West Washington Street
                                 Indianapolis, IN 46204



                                 Blueprint Capital REIT, Inc.
                                 PO Box Box 16309
                                 Seattle, WA 98116




                                 Chase
                                 Chase Bank
                                 PO BOX 6294
                                 Carol Stream, IL 60197-6294



                                 Clear Finance Tech Corp.
                                 Clear Finance Tech Corp CLEARCO
                                 CAPITAL
                                 1200-33 Yonge Street
                                 Toronto, Ontario, M5E 1G4


                                 Elan Financial Services
                                 Elan Financial Services
                                 PO Box 790408
                                 Saint Louis, MO 63179



                                 Equinox Properties Corp.
                                 600 N 36th Street Suite 1
                                 Seattle, WA 98103




                                 Fashion Show Mall
                                 c/o M.S., Management Associates Inc.
                                 225 West Washington Street
                                 Indianapolis, IN 46204
23-10671-hcm Doc#1 Filed 08/25/23 Entered 08/25/23 13:40:10 Main Document Pg 61 of 65


                                 Geneva Capital, LLC
                                 1311 Broadway St.
                                 Alexandria, MN 56308




                                 GGP Ala Moana LLC
                                 GGP Ala Moana LLC
                                 350 N. Orleans Street 300
                                 Chicago, IL 60654



                                 Gibraltar, LLC
                                 720 Seneca St. Suite B
                                 Seattle, WA 98101




                                 GRAND RIDGE PLAZA II, LLC,
                                 c/o Regency Centers Corporation
                                 One Independent Drive 114
                                 Jacksonville, FL 32202-5019



                                 Green Hills Mall TRG LLC
                                 200 East Long Lake Road Suite 300
                                 Bloomfield Hills, MI 48304




                                 Greenwood Park Mall, LLC
                                 c/o M.S. Management Associates Inc.
                                 225 West Washington Street
                                 Indianapolis, IN 46204



                                 Home Depot Credit Services
                                 HOME DEPOT CREDIT SERVICES
                                 P. O. Box 790328
                                 Saint Louis, MO 63179



                                 INTERNATIONAL TEA
                                 IMPORTERS
                                 INTERNATIONAL TEA IMPORTERS
                                 2140 Davie Ave
                                 Los Angeles, CA 90040
23-10671-hcm Doc#1 Filed 08/25/23 Entered 08/25/23 13:40:10 Main Document Pg 62 of 65


                                 Joe Raetzer
                                 2901 S Capital of Texas Hwy,
                                 Austin, TX 78746




                                 Kings Perez Flooring
                                 Kings Perez Flooring
                                 kingsperezflooring@gmail.com




                                 Klaviyo, Inc.
                                 125 Summer Street Floor 6
                                 Boston, MA 02111




                                 Lincoln Automotive Financial
                                 Services
                                 Customer Service Center
                                 P.O. Box 542000
                                 Omaha, NE 68154


                                 Mall at Northshore, LLC
                                 M.S. Management Associates Inc.
                                 225 West Washington Street
                                 Indianapolis, IN 46204



                                 MALL AT ROCKINGHAM, LLC
                                 MALL AT ROCKINGHAM, LLC
                                 225 West Washington Street
                                 Indianapolis, IN 46204



                                 Mall at Smith Haven, LLC
                                 M.S. Management Associates Inc.
                                 225 West Washington Street
                                 Indianapolis, IN 46204



                                 Newport Centre, LLC
                                 M.S. Management Associates Inc.
                                 225 West Washington Street
                                 Indianapolis, IN 46204
23-10671-hcm Doc#1 Filed 08/25/23 Entered 08/25/23 13:40:10 Main Document Pg 63 of 65


                                 Old Vine - Kingwood
                                 Associates, LLLP
                                 c/o Old Vine Management Group, Inc.
                                 1459 South Pearl Street
                                 Denver, CO 80210


                                 PAYCOR c/o CST Co.
                                 PAYCOR c/o CST Co
                                 PO Box 33127
                                 Louisville, KY 40232



                                 PAYPAL CREDIT/SYNCB
                                 PAYPAL CREDIT/SYNCB
                                 PO BOX 71707
                                 Philadelphia, PA 19176



                                 Paypal, LLC
                                 2211 North First Street
                                 San Jose, California, CA 95131




                                 PUGET SOUND ENERGY
                                 PUGET SOUND ENERGY
                                 PO BOX 91269
                                 92690



                                 Puget Sound Leasing Co., Inc.
                                 P.O. Box 91269
                                 Issaquah, WA 98027




                                 QUEST RESOURCE
                                 MANAGMENT GROUP LLC
                                 QUEST RESOURCE MANAGMENT GROUP
                                 LLC
                                 P.O. Box 560261
                                 The Colony, TX 75056


                                 ROYAL TEA NEW YORK LLC
                                 ROYAL TEA NEW YORK LLC
                                 661 Hadley Road
                                 South Plainfield, NJ 07080
23-10671-hcm Doc#1 Filed 08/25/23 Entered 08/25/23 13:40:10 Main Document Pg 64 of 65


                                 RWS Facility Services
                                 Dept. #40299
                                 PO Box Box 740209
                                 Atlanta, GA 30374



                                 SA Galleria, LLC
                                 M.S. Management Associates Inc.
                                 225 West Washington Street
                                 Indianapolis, IN 46204



                                 SDG FASHION MALL LIMITED
                                 PARTNERSHIP,
                                 SDG FASHION MALL LIMITED
                                 PARTNERSHIP,
                                 225 West Washington Street
                                 Indianapolis, IN 46204


                                 Simon Property Group
                                 (Texas), L.P.
                                 M.S. Management Associates Inc.
                                 225 West Washington Street
                                 Indianapolis, IN 46204


                                 Small Business
                                 Administration
                                 Little Rock Loan Servicing
                                 2120 Riverfront Drive, Suite 100
                                 Little Rock, AR 72202


                                 Southcenter Mall
                                 WEA Southcenter LLC
                                 2049 Century Park East, 41st Floor
                                 Los Angeles, CA 90067



                                 SOU-TIER INC. (SAT)DBA
                                 dba Robert F. Barnes
                                 216 E. Rhapsody DR.
                                 San Antonio, TX 78216



                                 Tampa Westshore Associates
                                 Tampa, FL
23-10671-hcm Doc#1 Filed 08/25/23 Entered 08/25/23 13:40:10 Main Document Pg 65 of 65


                                 U.S. Dept. of Justice
                                 950 Pennsylvania Avenue, N.W.
                                 Washington, DC 20530




                                 United States Attorney
                                 Civil Processing Clerk
                                 601 NW Loop 410 Ste 600
                                 San Antonio, TX 78216



                                 Washington Department of
                                 Revenue
                                 Washington Department of Revenue
                                 2101 4th Ave
                                 Seattle, WA 98121


                                 WEA SOUTHCENTER LLC
                                 WEA SOUTHCENTER LLC,
                                 2049 Century Park East, 41st Floor
                                 Los Angeles, CA 90067



                                 WEBBANK (RE: SHOPIFY
                                 CAPITAL)
                                 WEBBANK (RE: SHOPIFY CAPITAL)
                                 100 Shockoe Slip, 2nd Floor
                                 Richmond, VA 23219


                                 Westchester Mall, LLC
                                 M.S. Management Associates Inc.
                                 225 West Washington Street
                                 Indianapolis, IN 46204



                                 YOTPO INC.
                                 YOTPO INC.
                                 233 Spring ST. 6th Floor West
                                 New York, NY 10013
